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Madhuri Trivedi,
ATTN: Women Who Code

Fax: 708-778-4859 Phone: (650) 242-5135
Email: orangeinc(@pretonmail.com

 

Madhuri Trivedi

Plaintiff,

General Electric Company
Address: General Electric Company
41 Farnsworth Street

Boston, MA 02210,

Larry Culp, CEO of GE in his individual
and official capacity,

Address: General Electric Company
41 Farnsworth Street

Boston, MA 02210

GE board of directors

Address: General Electric Company
41 Farnsworth Street

Boston, MA 02210

Defendants.

U.S. DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

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Case: 1:19-cy-

01
Assigned To - K aT SRY DEMAND

elly, Timothy J.

44 Tehama St, 5th Floor, San Francisco, CA 94105 ASSign. Date - 5/21/2019

Description: Pro Se General Civil (F-Deck)

Case No::
COMPLAINT

Whistleblower Retaliation under Dodd-
Frank Act, 15 U.S.C. §78u-6(h);
SEC Rulei7 CFR § 240.21F-2

Securities Exchange Act of 1934,15
U.S.C. 78j(b),Rule 17 C.F.R. 240.10b-5

Violation of Dodd Frank act - Section
1057, Consumer Financial Protection
Act (CFPA) , 12 U.S.C. 5567 employee
protection

Wrongful termination in violation of
public policy

Breach of contract good faith

Violations of whistleblower protections
under Sarbanes-Oxley Act ,8 U.S.C. Ag
1514A, et seq. ,Pub. L. 107-204

8 U.S.C.§ 1324b(a)(1),8U.S.C.§1324b
(a)(5)Prohibition Of Intimidation Or
Retaliation

Disparate treatment and retaliation in
violation of Title VII

45 CFR § 160.316 Refraining from
intimidation or retaliation, Public Law
104-191.

45 CER § 164.530(aarpn ig IVED

Madhuri Trivedi

MAY 21 2019

Clerk, U.S District & Bankrupt
JUS, C
Courts for the District of Columbia

 
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refraining from intimidating or
retaliatory acts

National Defense Authorization Act -
NDDA, 10 U.S.C. §2409 Subpart 203.9

Breach of the implied covenant of good
faith and fair dealing

Jury trial demanded.

Judge:
Date Action filed:

 

 

Plaintiff Madhuri Trivedi("Plaintiff"), for causes of action against defendants General
Electric,GE Healthcare, Larry Culp, GE board of directors in this Complaint for Damages
("Complaint") as follows:

1, Plaintiff Madhuri who didn't work for the government nor had union protections,
blowing whistle given that HER H1B and whole greencard in GE’s hand and anything would
jeopardize and destroy her immigration; and could impact her career; ===with all this
consequences She boldly and courageously STOOD up for doing what she believed was legal for
her to do , not to join GE fraud scheme, cyber security vulnerabilities , product defects,
violations ---TOOK high risk road and suffered backslash, retaliation.

2. Trivedi’s position is corroborated by Scott Erven, an independent cybersecurity
Researcher. Finally GE and Department of homeland security(DHS) issued ICERT ALERT in
February/March 2018(EXHIBIT 1) for cybersecurity vulnerabilities related to many types of GE

medical devices worldwide. Following GE devices were affected.

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AFFECTED PRODUCTS

The following GE Healthcare products are affected:

Optima 520, which are medical imaging systems, all versions,
Optima 540, which are medical imaging systems, all versions,
Optima 640, which are medical imaging systems, all versions,
Optima 680, which are medical imaging systems, all versions,

Discovery NM530c, which is a nuclear medical imaging system, versions prior to Version
1.003,

Discovery NM750b, which is a dedicated breast imaging system, versions prior to Version
2.003,

Discovery XR656 and Discovery XR656 Plus, which are digital radiographic imaging systems,
all versions,

Revolution XQ/i, which is a medical imaging system, all versions,

THUNIS-800+, which is a stationary diagnostic radiographic and fluoroscopic X-ray system,
all versions,

Centricity PACS Server, which is used to support a medical imaging archiving and
communication system, ail versions,

Centricity PACS RA1000, which is used for diagnostic image analysis, all versions,

Centricity PACS-IW, which is an integrated web-based system for medical imaging, all
versions including Version 3.7.3.7 and Version 3.7.3.8,

Centricity DMS, which is a data management software, all versions,
Discovery VH / Milienium VG, which are nuclear medical imaging systems, all versions,

eNTEGRA 2.0/2.5 Processing and Review Workstation, which is a nuclear medicine
workstation for displaying, archiving, and communicating medical imaging, all versions,

CADstream, which is a medical imaging software, ail versions,

Optima MR360, which is a medical imaging system. ail versions,

GEMNet License server (EchoServer), all versions,

Image Vault 3.x medical imaging software, all versions,

Infinia / infinia with Hawkeye 4 / 1, which are medical imaging systems, all versions,

Millenium MG / Millenium NC / Millenium MyoSiGHT, which are nuclear medical imaging
systems, all versions,

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e Precision MP/i, which is a medical imaging system, all versions, and
« Xeleris 1.0/ 1.1/2.1 /3.0/3.1, which are medical imaging workstations, ail versions.

IMPACT

Successful exploitation of this vulnerability may allow a remote attacker to bypass
authentication and gain access to the affected devices.

Impact to individual organizations depends on many factors that are unique to each
organization. NCCIC recommends that organizations evaluate the impact of this vulnerability
based on their operational environment and specific clinicai usage.

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For the affected products, a CVSS v3 base score of 9.8 has been calculated; the CVSS vector
string is (AV:N/AC:L/PR:N/UI:N/S:U/C:H/EH/A:H)

VULNERABILITY DETAILS

EXPLONTABILITY

This vuinerability could be exploited remotely.

EXISTENCE OF EXPLOIT

Vulnerability information about the affected products is publicly available.

DIFFICULTY

An attacker with a low skill level would be able to exploit this vulnerability.

3. Scott Erven reported these cyber vulnerabilities to GE in 2014.

4. Plaintiff Trivedi started bringing up severity and sense of urgency/liability/ to fix
address/stop integrating and shipping medical devices with InsiteEXC to GE from 2011.

5. Insider threat mitigation didn’t exist..as Bill Baribux —GE architect
testified (EXHIBIT 3) InsiteEXC failed all security tests on day ONE in year 2008 ;so they
moved it from public facing to inside GE network but GE has 300,000 employees and as Scott
Erven proved that InsiteEXC was vulnerable from hospital/outside GE network as well.

6. From my phone conversation with Scott on Feb 22™ 2019 he was also wondering

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that how come GE not address it/(no fix, patch or recall) despite having lots of press around it for
4 years and many security researchers knew about it and wrote. After Scottt report in 2014 ;
vulnerabilities were unpatched even though it was wide open to be hacked and manipulated

7. (Somehow all of a sudden GE released a patch in Feb/March 2018.)

8. This is just a tip of an icerburg —vulnerability Scott reported ;was few of 465 total

critical defects.

9. GE knowingly conspired, deceived, fraudulently sold medical device products and
services to customers, investors and government by not publicly disclosing defects, cybersecurity
vulnerabilities, also serious hackable —for years for sake of generating revenue, money while
putting public health and safety at risk and mercy/hands of hackers. GE made numerous press
releases, released you tube video, product brochures for surgery, ultrasound and all kind of
medical devices with misleading, false information.

10. The company’s “scheme to defraud its customers by knowingly selling defective
and potentially dangerous remote control product on most of all their medical devices”. GE
fraudulently induced the federal government (including the Department of Defense and Veterans
Administration) , state governments to buy its defective product through both misstatements and
material omissions. Each of us has the right to expect any medical equipment used for our
medical care to be safe and effective, but we are all placed at great risk when medical equipment
companies violate our trust and knowingly sell equipment that is defective,” the evidence shows
GE’s callous disregard for the fact that these defective product(s)—which they consciously,
aggressively sold after knowing existence defects—could mean life or death for unsuspecting
patients, loss/theft of their protected health information(PHI), wrong diagnosis of life threatening
disease or not having timely diagnosis due to cyber security vulnerabilities/defects. This case is

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not just about recouping money for taxpayers—it is an indictment of a company that placed a
higher premium on profits than public health and safety.”- Public policy violation as well.
11. On the day Trivedi was terminated by GE, GE architect Bill Barbiuax told Trivedi

that “you did the RIGHT thing, but GE is BIG. Nothing will happen to GE.

THE PARTIES

12. Madhuri Trivedi is a plaintiff. Madhuri is a citizen of India.

Plaintiff Trivedi came to USA on Spouse H4B visa in 2003, because of domestic violence and
other abuse from her Ex-husband she got divorced in 2006;after divorce that was on Student
Visa-F1 and then on H1 B visa.

13. Madhuri worked for GE in Boston, MA and Waukesha, Wisconsin.

Defendant General Electric is a corporation incorporated in New York, currently Headquartered
in Boston and during Plaintiff's employment was HQ in Connecticut and GE is a multinational
corporation.

14. In January 03 and Jan 05,2019 I contacted GE ,CEO- Larry Culp and GE board of
Directors and sent them EXHIBIT 2
But they didn’t reply.

15. Larry Culp has all the details as I sent in January 03 and Jan 05, 2019 but he has
IGNORED email and this matter;otherwise he could have settled this matter and done JUSTICE;
but didn’t even care to RESPOND. He is here as a defendant in his individual and official
capacity.

16. I sent email to former CEO Jeff Immelt in 2013 and 2014.

17. I sent /emailed EXHIBIT 2 to John Flannery in 2017. I also called John Flannery

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assistant and she acknowledged that Mr. Flannery has my email and have read it.
18. Mike Swinford, former CEO of GEHC services knew this matter even before I was
illegally terminated.. Mr. Swinford and GEHC CTO Mike Harsh even came to my
arbitration hearing. (EXHIBIT 24)
19. GE boards of directors are body governing public company are hence they are
defendants. Including but not limited to SEC. 101<15 USC 7211>Establishment;
Administrative Provisions.(c)Duties of the Board

I emailed them EXHIBIT 2 at directors(@corporate.ge.com in 2016-2017 as well.

 

20. I contacted them multiple occasions since I was illegally terminated.
21. Robert Swireinga, Susan Hockfield knew this matter from 2013-2014.

¥ Icontacted Susan Hockfield via emails that I sent her to her MIT email address and her
assistant acknowledged she read and after responded mentioning that “she is too high as a
director to get involved in an individual matter of mine “;

v Even though I was MIT alum and she was MIT president. But she chose not to take any

action and didn’t fulfill her fiduciary and other duty obligation.

¥ Robert and Susan are no longer board of directors.

Y Robert did inquiry(EXHIBIT 3) and GE stonewalled ,didn’t do anything an on top of that
GE complained to arbitrator that I have contracted GE board of director and arbitrator became
more hostile after learning this.

VENUE
22. 28 U.S.C § 1391 venue is proper since GE has office(s), reside and have operations in
this district.

JURISDICTION

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23. This court has jurisdiction over plaintiff's claims pursuant to Whistleblower
Retaliation under Dodd-Frank Act 15 U.S.C. §78u-6(h)(B)(i)-An individual who alleges discharge
or other discrimination in violation of subparagraph (A) may bring an action under this subsection in
the appropriate district court of the United States for the relief provided in subparagraph (C).

As per 15 U.S.C. §78u-6(h)(1)(B) (iii) ;within 6 years after the date on which the violation of
subparagraph (A) occurred. GE can’t force mandatory arbitration agreement under
this/whistleblower provisions. Plaintiff was terminated on May 31, 2013.

Plaintiff has bought these claims within six years after the date on which violations occurred.
Therefore, this court has original Jurisdiction of this matter

24. This court has jurisdiction over Securities Exchange Act of 1934,15 U.S.C. 78j(b),

and Rule 17 C.F.R. 240.10b-5

25. This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to
28 U.S.C. § 1331 (federal question statue), 28 U.S.C. § 1343

26. This Court has jurisdiction over plaintiff's claims pursuant to 45 CFR §

160.316 Refraining from intimidation or retaliation, Public Law 104-191.

27. This case arises, in part, under federal statutes including Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. § 2000C, et. seq. Therefore this court has original
jurisdiction.

28. 8 U.S.C.§ 1324b(a)(1),8U.S.C.§1324b (a)(5); federal statutes hence this court has

original jurisdiction for claims brought under these statutes.

29. This court has jurisdiction over claims pursuant to /0 U.S.C. 240. 10 U.S.C. 2409

30. This court has jurisdiction pursuant to Sarbanes-Oxley Act, PUBLIC LAW 107-204.

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31. As per 29 CFR § 1980.103 (c)Place of filing. The complaint should be filed with the

OSHA office responsible for enforcement activities in the geographical area where the employee
resides or was employed, but may be filed with any OSHA officer or employee. Addresses and
telephone numbers for these officials are set forth in local directories and at the following
Internet address: http://www.osha.gov. As Plaintiff filed OSHA department of labor
complaint in Timely manner with Wisconsin-Chicago regional office via fax on May 3",
2014(EXHIBIT 6, EXHIBIT 7).. OSHA erroneously responded on July 14, 2014 that it doesn’t
fit any of their 22 statutes. (EXHIBIT 8).

32. Court has supplemental jurisdiction for claims arising out of related this matter.

33. Google ended arbitration requirement for ALL of the employee
disputes/claims. Earlier google allowed only sexual harassment claims to be taken to court but
then Google changed. Goal of arbitration was to have resolution of disputes in alternate way and
have access but then has become one of the tool for employers to get away with illegal,
wrongdoing, misconduct, violations. Arbitration is systemically designed for employers and not
for employees; also arbitrator gets PAID by an Employer (in my case GE paid arbitrator
$40,000. So it is a BUSINESS for arbitrator and American arbitration association. )Big
corporations have a way to get away in such private environment. Employer especially company
like GE can SPEND INFINITE/ENDLESS TIME, RESOURCES and MONEY on
LITIGATION/Legal fight (any such activities)which employees can’t even imagine to afford to.
In end result it HURTS society and all of us.

34. Arbitrator Peter Meyers didn’t allow deposition of GE architect and Food and Drug
administration’s letter into evidence at arbitration hearing.

FACTS RELEVANT TO CLAIMS ALLEGED HEREIN
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A. Background of Plaintiff's employment at GE

35. Plaintiff has bachelor in electronics and telecommunication engineering with
distinction grade from India, Post graduate diploma in business administration(PGDBA) from
India, Masters in Computer Information science from Cleveland state university, Ohio; and has
done graduate certificate course( equivalent to Masters level but not a degree) in Systems design
and management from Massachusetts institute of technology, Cambridge, MA. She has prior to
joining GE worked in multiple domains including in enterprise solutions, biotech, enterprise
security and healthcare IT;for big corporation as well as do or die entrepreneurial startups.

36. Plaintiff joined GE healthcare in Waukesha, Wisconsin in 2011 as a Lead

engineer- fulltime GE employee.

37, ....prior to that I worked for GE intelligent platforms in 2010..GE interviewed me in
2009 and next day offered job on phone as a fulltime GE employee. After few weeks VP of
engineering Reema Poddar mentioned that as GE has taken from government TARP(Troubled
asset relief program) money; hence GE can’t do my H1-hence would bring me on board first as a
consultant-employed through Adecco-noramtec consulting(have them to H1B) and then after 2-3
months will do H1...I believed in their scheme and agreed. (At GE Intelligent Platforms in
Boston; as part of a two engineer team reporting to Chief Technology Officer of GE
Transportation Steve Edner, Plaintiff did Application development /support for remotely
monitoring GE assets. This solution generated multi million in revenues for GE Intelligent
platforms).GE emailed that they are happy and will do my H1 B transfter to GE (from
Adecco/Noramtec consulting) as fulltime job with GE. GE filed my H1 B LCA with labor
department- attached approved copy(by mistake lawyer wrote my OLD married name as

‘Shukla’) (EXHIBIT 20) —I left GE intelligent platforms as GE told me shortly after this that
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they are terminating my contract. I didn’t fight back then —At that time also immigration attorney
for GE was Fragomen Del Rey, Bernsen & Loewy, LLP law firm’s Jenny S. Schrager.

38. Later GE healthcare came back in 2011 for Waukesha, WI full time job; even before
in-person interview I emailed GE manager David Mehring and architect Nate Davis ( EXHIBIT
21) that my PERM (with department of labor)for greencard needs to be filed at least 365 days
before My total 6 years of H1 runs out( H1 B expires) in order for me to get 1 year extension for
my H1 B until I get greencard.(.But after HIRING me, knowingly GEHC didn’t file PERM at
least 365 days before my H1 so even when GEHC was terrorizing me I could left GE and work
at another company —so this was a conspiracy.). Jenny Schragger Fragomen immigration
attorney should be in jail along with GE people.

39. Plaintiff was terminated on May 31, 2013. Mediation was done in later 2013 and
arbitration hearing was on May 2014. Arbitrator Final award was given on August 11,
2014.

40. Plaintiff contacted Food and Drug administration in December 2013 (EXHIBIT 5).

41. Plaintiff contacted Department homeland security in September 2013 by filing visa

 

and going in person to Milwaukee, WI DHS office.

 

42. For Dodd Frank act claims, breach of contract, SOX claims taking to district
court, SEC related claims, some other others —Plaintiff was not aware of her right to go to

district court earlier. No attorney she retained mentioned that prior.

B. FBI supervisor Agent and FBI special agent in charge

 

43, Plaintiff contacted FBI in Milwaukee, WI in April 2014. FBI Milwaukee Supervisor

 

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Clayton Wible who after looking into details called back that GE matter is False Claims

Act/Quitam matter.

44. | contacted FBI again in California, San Francisco; wrote to special agent in charge

David Johnson in November 2015 about criminal investigation related to GE, my matter. He
assigned FBI agent. Last I met him in FBI San Francisco lobby in January 2017 and he said he is

leaving FBI and was SORRY;; said that “it is not him”.

45. Below is emails as reference.

From: Wible, Clayton M. (MW) (FBI) <Clayton. Wible@ic.{bi.gov>

 

Date: Tue, Aug 25, 2015 at 6:37 AM Subject: RE: Please contact US att General Loretta

Lynch To: Madhuri Trivedi

Madhuri, As we have discussed before, I am unable to intervene or lobby on your behalf.

While the following does not represent legal advice, 1 can only suggest the very action(s)

I have suggested in the past: hire new, or keep working with existing, legal representation

to address your immigration matters. For the above reasons and more, I cannot and will

not be contacting AG Lynch as you requested. Sincerely, SSA Wible

46. Later David was appointed as Executive assistant director of FBI reporting to
James Comey. In January 2017, David left FBI.

47. aa

From: Johnson, David J. (SF) (FBD <David.J.Johnson@ic. fbi,.gov>

 

Date: Tue, Nov 24, 2015 at 9:20 AM Subject: RE: MIT alum: Work authorization,
Extreme hardship declaration, financial loss, humanitarian and distress

To: Madhuri Trivedi Ce: “San.Francisco” <San.Francisco@ic. fbi.gov>

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Good mormning—]I have received your email and will have someone reach out to you.

Thank you. David

 

 

 

48,

49.

C. GE fraud related

Connectivity —lucrative money making service contracts ( which generates annual

recurring revenue for GEHC( in terms of upto $8 billion per year) instead of
ONETIME sale of medical device) was better than critical defects-bugs-security

vulnerabilities-design nonconformance —all of these put public health, safety, security

 

 

and privacy of their data at risk and exposure. Poorly protected & patched , Internet
Network connected with No proper and adequate detection & alerting,
Vulnerabilities of devices are RECIPE of DISASTER in hospital, & health system .

When Plaintiff mentioned that "why we are still shipping defective Insite2 product” ;

 

David Mehring mentioned that during a group meeting that "Connectivity is better

than Insite2 product" (means at least medical device will have connectivity).

 

“InsiteEXC” “Insite2”
At GE Healthcare, remote service and connectivity medical device “InsiteEXC” /
“TInsite2” was remotely communicating and controlling 100,000 medical devices.
Medical devices were ultrasound, MRI, surgery , Lunar, radiology servers and
more. (Most of the GE medical devices were SOLD with INSITE EXC

PREINSTALLED; InsiteEXC was part of service contract offerings.

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50. There were defects in terms of 465-2000 total bugs and 465 defects(EXHIBIT 9) in
category of critical design non conformances in PRODUCTION (means already
in USE at hospitals); unresolved for several years and medical Device Insite Exc

was launched in 2004.

SPR Trends

Changes in 3Q:
> 15 SPRs closed

with justification” 12

DDTS
.2 release

| Open issues:
* 465 Design Non-
Conformances

 

4| * Reviewed and “dispostioned

Unacceptable Risk sprs
imported incorrectly from

* 124 Improvement Opportunit
¢ Will be closed with justificatio
when RSvP program retires

Questra back-office

 

51. It lacked security features, audit trails, activity logging and security reporting.. (i) the

design and technology of Insite EXC were flawed as they were plagued with 465 critical defects
unresolved for several years including severely deteriorating performance ---including but
limited to that online engineers could not do remote connection to check, fix medical device(
remote connection was a SELLING POINT for this product and all service contracts for insite
EXC were signed based on remote connectivity; (11) GE didn't publicly disclosed this issues; (sii)

the Company lacked adequate management controls to report/fix/address these issues; and (iv) as

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a result of the foregoing, GE's public statements were materially false and/or misleading and/or

lacked a reasonable basis.

52. Fraud attorney at Cohen Milstein law firm said that it is fraudulent inducement.

53. GE performed sham quality tests and “willfully concealed the existence, frequency
and severity of the products’ defects,” with “grossly inadequate testing procedures”. Tech
leads/seniors were skipping quality steps, testing needed.

54. For knowingly selling defective, life threatening medical devices used by Department

55. of Defense, Veterans Hospitals; medicare, medicaid ; other public government

programs.

56. Department of defense signed $400 million of service contracts in last ten years

57. GE SEC filings 10-K state that “Our products are subject to regulation by numerous
government agencies, including the U.S. Food and Drug Administration (U.S. FDA), as well as
various laws that apply to claims submitted under Medicare, Medicaid or other government

funded healthcare programs.”

 

58. (In 2013 , at Veterans hospital in NY patient died due to faulty GE MRI system.....so
GE has been reckless in their devices).

59. For bringing this fraud and defects to management's attention and NOT willing to
participate in their fraudulent scheme. Madhuri- I was harassed, received abusive treatment and
wrongly accused of insubordination . She was also ostracized and marginalized by management.
Since then J have been suffering terrorizing acts due to GE and their influence at all level

60. EXHIBIT 17 attached- for many GE devices, they are making claims that it has

HIPPA /HITECH robust, security, audit trails, reporting which is false.

61. These medical products were critical to the care of the hospital patients, including
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armed services personnel and veterans, and The fact that the defective nature of these products
was not disclosed is unconscionable

62. While doing public release—intentionally hide information from shareholders and

63. SEC as per section 302 and 402 public release, inside and outside-company sales,
marketing and customer brochures with/for various medical devices such as surgery arm, cardio
etc. Sales information online for medical devices and public press release----and elsewhere
where GE omitted and misstated /failed to disclose any InsiteEXC issues/facts/truth --instead
bolstered it ..

64. the company is required to disclose all “material information” —information that
an investor would consider important in the evaluation of an investment decision.

65. Several Finance managers at GE knew it and they work with internal and external
auditors...

66. Laws prohibit deceptive practices for usc, benefits of company business, revenuc,

profit...

67. Failing to disclose material information concerning its usage, operation, maintenance

not as advertised, sold and mentioned in contract agreement; with intentional inducement ..failed
to willfully disclose and actively concealed defects for upto years( last 5-7 years where hundreds

of critical defects). Fraudulent Concealment by GE.

I. InsiteEXC internal customers struggle for months to establish connectivity

 

and Trivedi found short term fix

68. While after joining GEHC in 2011, right on my 2™ week on joining GEHC I found a

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work around where earlier online engineers ( internal customer Missy Polak Ryan also
complained)couldn’t do remote connection to medical devices in hospitals and hence couldn’t
fulfil service contract OBLIGATIONS WITH CLIENTS/signed with DOD-department of
defense/other hospitals—for months they were struggling and engineering staff couldn’t find
solution to problems. On my 2™ week I found a work around and send document first to Glen
Livermore which was used by hundreds of online engineers/service engineers, was CRITICAL
globally to do remote connectivity -it was a bandage —short term fix ( to stop bleeding in
operations and remote service and allow online engineer to do their jo and HENCE fulfil
SERVICE CONTRACT OBLIGATIONS WITH CLIENTS). Long term fix was to developed

new platform from ground up.

69. Male GE engineering staff looked (was obvious to they were incompetency)
technically incompetent after above incident and as I started making waves.. Soon

after that

ll. Deposition of GE architect Bill Barbiux
70. Deposition of GE architect Bill Barbiux taken by Madhuri. Transcript deposition
pieces(EXHIBIT 16)
Page 3 Q Did I treat you with respect when I was withGE?
A Yes.
Q You had good working relationship with me , right?
A Yep.
Page 61 Q So in your opinion, the work I did for —I did for security VNC server
issues on Surgery was good work, and it was good for GST given that I was a couple

of months old within the company, and it was -- I was bringing tons of issues, and it
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was too much for them.] was expressing tons of concerns, and it was truth. It was
not just -- It was happening. Things were not working the way they were supposed
to.

Q Good work for GST.

A Yes. Technically, I thought what you were doing -- a lot of what you were doing
Made sense................5.

Page 107 Q Do you have knowledge that there were design nonconformances,
means defects in Insite ExC in production?

A Yes.

Q Do you have any idea of how many of them?

A I don't recall. I know there were several hundred or more.

Q So it says 465.

A Okay.

Q So your -- I'm talking about -- I'm just consolidating everything in one

sentence. Your point was connectivity is better than defects in Insite ExC. At the least we
wouldhave connectivity?

A Right.

Page 168 Q At the time of Insite ExC release, when it was public facing, it failed
a security test or had the security concerns?

A Yes.

Page 170 Q Insite ExC in production had security issues. Is that correct?

A The user interface, which is a little bit different, yes, had some security
vulnerabilities found during Scabba testing. Our mitigation was several things:

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One of them was to move the user interface inside GE.
Q So some of the security vulnerability still exist today?
A Yes
Q So any GE employee inside GE network can potentially try to exploit that
vulnerability?A Depends on the vulnerability.
Q So is this -- Do you consider that's insider threat detection, and not having
Proper insider threat detection in place? Its considered insider threat detection, right?
Fees ees Given those security issues still exist where an insider can try to
potentially — or can try to exploit those.
Q Is it considered good security strategy or is it --
A To move the interface to the inside?
Q And keep those security vulnerability as --
A That was one of our only options. ................. The user interface was upgraded
from 4.1 to 5.2. That's where a lot of the vulnerabilities came in, so —
71. There are several other items Bill admitted as well (EXHIBIT 16 )
UI. Retaliation and fraudulent integration of InsiteEXC when Trivedi reports to

management, executive Dave Elario who further threatens to take Trivedi off

job and more aggressively releases Insite

 

72. Plaintiff suffered disparate treatment, retaliation harassment including sexual in

nature for not joining GE’s fraud scheme.

73. GEHC manager David Mehring and project lead scheduled 23 days (EXHIBIT 26)

for me to finish ;

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1000 pages worth of testing procedure and at the same time develop new testing procedure for

1000 pages that would work on linux and windows platform both and also work on linux while

74. Plaintiff Trivedi was working on a project “integration of Insite2/Insite EXC on

surgery platform”; Ms. Trivedi found and investigated issues of product being vulnerable for

security attacks/hacking. Security vulnerabilities were agent was accessible by multiple ports.

 

75. Being new to company I did contributed and delivered values. There is a Trend of
shifting/putting blame inappropriately for things I am not responsible or I have no control over
it, discrimination (being a female engineer and nationality) and retaliation for bring out those
security/quality issues; while they were showing disregard to address/fix and prevent these very
important issues from happening. It was a job needs to be taken seriously. This is a SERIOUS
problem and I was trying to take care and was doing best job. My performance was geared for
making sure that these kinds of quality/security issues does not happen to medical devices. At
GEHC, I put this at first and foremost in my daily job and duties.

76. When I pointed out deficiency on systems; manager/leads got upset and treated me
discriminatory. Other employees who were doing this kind of work were not held accountable.
They were not making waves. I was retaliated for coming out/coming forward. Manager
differentiated between them and Ms. Trivedi in treatment when it came from a minority woman
who is a hard working engineer. Ms. Trivedi was put on a PIP to improve relationship There
are several factual evidences including but not limited to that Ms. Trivedi was working with
dedication to quality, technical rigor, Inclusiveness and clear thinking.

77. When I requested a meeting with Dave Elario; he did not come as her mother got sick

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he said. I sent information to him regarding what was happening via email. After sometime to
find a solution; in early February I requested Dave Elario's boss Mike Swinford to meet and help.
Mike sent Dave Elario to meet with me. Dave Elario got very upset at me as I went to his boss
and told me that even if his boss Mike wants to transfer me to another group/manager, Dave E.
won't let that happen and he will advise Mike Swinford against that and against supporting me.
Also Dave Elario threatened that he will take me out of job. (Ms.Trivedi thought there would be
an open door policy.) After a week of this they put me on a Performance improvement
plant(PIP). During PIP also managers lied of what we discussed my progress, manipulated
discussion and kept harassing me; beating me up no matter what I did..I was also all burnt out
and exhausted- mentally, emotionally and physically due to their torture and such disperate
treatment, retaliation.
78. My email to Dave Elario with highlights paragraph relevant this cause of

actions and allegation here. And Dave Elario’s response email that I work on my relationship

skills.

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From: Efarlo, David (GE Healthcare) <David.Elario@ med.ge.com>
Sent: Friday, November 16, 2012 8:07 AM

Ta: Trivedi, Madhuri (GE Healthcare) <Madhuri.J. Trivedi@ge.com>
Subject: Re: information
Madhuri,

Thank you for the info. | know you spent time with Mike Truman and others a few weeks back. If there are
open issues, please circle back with Mike or Dave Mehring.

One thing I've learned over the years is that not all of my ideas are supported. I’ve always tried to work to
understand rationale at times but sometimes the business does make decisions to move in a direction.
Sometimes, Ive seen that my Idea while not right at the time Ister got accepted. In the end, we ali should
stay focused on working on our responsibilitles and building strong relationships.

Dave Elario
GM Core HCS Services
Global Services

3114 N. Grandview Blvd

 

From: Trivedi, Madhuri (GE Healthcare} Sent: Thursday, November 15, 2012 1:04 PM To: Elario, David
(GE Healthcare} Cc: Trivedi, Madhuri (GE Healthcare) Subject: FW: information

Hi Dave Elario,
Resending this email again; it’s 2MB size. Thank you for your time.
Best, Madhuri

From: Trivedi, Madhuri (GE Healthcare) Sent: Saturday, November 03, 2012 6:20 AM To: Elaric, David
(GE Healthcare} Cc: Trivedi, Madhuri (GE Healthcare) Subject: information

Respected Dave Elario,

Hope your mother is feeling well now. | wanted to go over few things during our meeting.

f There had been some security/configuration issues when | was testing Insite Exc-agent for remote
desktop was running on /PV4/IPV6 and also on multiple ports by defauit(so it is wide open for world to
access and hack the system). There was lots of investigation and solutions | worked on to address
these...but the project lead for that did not have any time scheduled for this. And was not helpful to
address this. | had several HITECH/HIPPA training before and have worked in Healthcare and know it’s
addresses confidentiality, availability and security of data. so i wanted to address this as it was crucial.

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So instead of addressing and investigating why it’s failing; LSD and PL(mentioned this to manager

also) they were over confident and took Windows and Linux as same when it’s apples and oranges. &
created problem for me.

fa Greg yelled at RSVP team manager and lead several times and at the end for no reason he did that to
me. David Mehring told me that he has temper preblem. So | have moved my cube(also | wanted to stay
away from microwave}

f ONLY Due to my werk and support since December 2011 till date InsiteExc customers-OLE(more than
100 OLEs have used documentation | created for support) can access device remotely using XP/Windows

So instead of addressing/supporting these; they tock it other way--..Js there any guidelines when a
person is (doing a right thing and still tech leadership/manager do not take that into consideration and
instead use it against) for us so that the person who brings this up and it is properly addressed and taken
care and the person does not get into problem for doing right thing...

fi Doing right thing is what matter not pleasing people. | have always communicated nicely in a pleasing
way; people should understand enormity.

Due to ali this people who report to core team and other GST team don’t even report all good work |
do..Like my Exc support was never reported by the person in a quarterly review even though they know
that | am doing it while they report about other team member. Should not things that actually happened
should be reported.

This is short summary. | may send some remaining details later. | have worked in life science, Electronic
Med Records, Health insurance area and remote service- each day | come to work excited forgetting all
this behind but still others are not letting it go. When | am being biamed for things | am doing right..|
have told Dave M that ! will improve my influencing skills going on and | am already reading a book-and
doing online courses.

@l take ownership and deliver in agile {flexible to requirements and iterative) for projects from concept
through delivery; but all this is unnecessary friction- mentioning ail this to manager during 10n4 also do
not do any good...are waste of time and energy and brings down my productivity because other people
are also reporting to them so they listen te them more even though it’s not right. | take work as a
worship. Thank you very much for your time..

79. Despite internal GE groups writing emails to Dave Elario that they can’t fulfill

 
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contract obligation that they sign with customers( private , public and government hospitals ,
doctors who use these medical devices). And I Madhuri also informed managers/Dave Elario
about these issues.

80. Dave Elario-General manger at GE bragged how aggressively GE is integrating Insite
Exc( name of defective medical device) in couple dozen medical device types. This was audio
and GE kept integrating, installing and releasing into production and to costumers(hospitals) on
all kinds of medical devices(aka ultrasound,); ..And were proud to finish modality integrations
on as many modality as fast and as quickly and as they can. While beating Madhuri and working
on systematically to get rid of her. Even after Dave Elario was made aware of issues and that it is
misleading, false and omission by not disclosing these issues as well as GE was saying that it
was HIPPA-HITECH complaint but Insite EXC lacked adequate controls for this; --most critical
is Insite EXC failed security tests from DAY | and knowingly GE released it on all kind of
medical devices for years..

81. Itis Conspiracy and false case made against Madhuri to end her employment with
GEHC . When GE kept harassing me when I was doing my job, tests failed and as GE knew
defects but knowingly didn't tell me about them instead tortured me that I am slow and stupid.
but the truth was I did understand but they were technically incompetent and were doing fraud by
concealing these material defects to me, customers and public- stakeholders and stockholders,
regulator)

IV. CYBERSECURITY

82. Whistleblower Trivedi had reason to believe that by telling authorities about a

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cybersecurity problem, or a company’s failure to disclose one, they would be reporting a
securities-law violation.
83. Below email communication highlighted between Trivedi and general manager Josh
Hana.
That I got incorrect performance appraisal rating because of team member’s technical
incompetence by prexetual manner rating me as “not inclusive”; also in retaliation to bringing up

security compromise.

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From: Trivedi, Madhuri (GE Healthcare)

Sent: Tuesday, May 21, 2013 2:38 PM

To: Hanna, Josh (GE Healthcare} .
Ce: Khan, Ayesha (GE Healthcare); Trivedi, Madhuri (GE Healthcare)
Subject: information

Hi, Josh/Ayesha

Bringing such things to Carl/Dave has not been helpful and I have no choice but
communicate to Josh/you in order to address root cause of the whole issue,

As you both were new and not involved in much of history this is just one example.

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This is just an example; [ can go on for list of such items { For Insite2(EXC), Old RSVP,
New RSVP )where I had to bring up things as part of my job and my expertise. When
doing that making issue about my growth value “How you do it” is a retaliation. Because
leads missed it..maybe they were feeling insecure from inside when their short comings
came out to be known by me. And Dave M /Cari didn’t do much to address those in proper
manner and make my issue even when it was said nicely. After several (close to 30-35) of
such incidents and reporting to Dave M(some to Carl) ; nothing happens and then they give
me hard time for ne reason...I will have to go above the chain and escalate that to make
sure senior management is aware and at least someone would address those in proper
manner. After all I am a human being too and there is a limit one person can go on with
such thing,

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From: Trivedi, Madhuri (GE Healthcare) </o=GEMAIL/ou=First Administrative
Group/cn=Recipients/on=212070205>

Sent: Tuesday, May 21, 2013 4:22 PM

To: Hanna, Josh (GE Healthcare) <Josh.Hanna@med.ge.com>

Ce: Khan, Ayesha (GE Healthcare) <Ayesha.Khan@ge.com>

Subject: RE: information

 

Josh, As you mentioned fo know more what I am trying to point out here. | can stop by at your desk and
explain quickly. Or can meet at Ayesha's office with three of us quickly to go over this emails{ two emails
mainly...! sent few updates to two subject emails today as to provide more information).

Such findings led to people feeling insecure and making me look non inclusive.

From: Trived|, Madhurl (GE Healthcare)

Sent: Tuesday, May 21, 2013 3:42 PM

To: Hanna, Josh (GE Healthcare)

Ce; Khan, Ayesha (GE Healthcare); Trivedi, Madhuri (GE Healthcare)
Subject: RE: information

I said below close to 30 such incidents which involved security, usability, workflow, networking,
IPV6, operating system missing libraries, design, architecture, requirements , performance of SW
applications and scalability and meeting GEHC requirements.

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From: Trivedi, Madhuri (GE Healthcare) </o=GEMAIL/ou=First Administrative
Group/cn=Recipients/cn=212070205>

Sent: Wednesday, May 22, 2013 8:45 AM

To: Hanna, Josh (GE Healthcare) <Josh.Hanna@med.ge.com>

Ce: Khan, Ayesha (GE Healthcare) <Ayesha.Khan@ge.com>

Subject: RE: Quality Center access & its details

Attach: RE_ information.msg

 

Josh, | have attached another email. They have given me incorrect rating for minor issue which | am not
aven part of. So is that fine?

| said in email attached there were close to 30 such Incidents which involved security, usability, workflow,
networking, IPV6, operating system missing libraries, design, architecture, requirements , performance of
SW applications and scalability and meeting GEHC requirements. Thase incidents were of varying
severity from critical{stopped program for two months to low}

Such findings led to people feeling insecure and making me look non inclusive.

From: Trivedi, Madhuri (GE Healthcare)

Sent: Tuesday, May 21, 2013 3:46 PM

To: Hanna, Josh (GE Healthcare)

Subject: FW: Quality Center access & its details

Respected Josh,

Security compromise | found out last year when | was supporting FEs/OLEs for our product(which has
60,000 plus devices connected ) and communicated to all tearn leads/managers last year which my

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Reporting such things in which | am not even invioved in creating those security vulnerability should be
supported by leads/managers. They might have felt insecure because their short coming came to known
by a newer person(! was just five month old employee within organization © )

Also earlier the findings as part of support work email which | sent to GEHC teach leads/manager
on June 11, 2012 and Dave M’s reply email! received as email attachment.

! am sending this as a kind of last email to clarify as | know your time Is important. And | don’t want to
escalate that either unless needed.

Please let me know if | need to provide more clarifications to any of such items | mentioned .

Regards and thanks,

Madhuri

84. FDA/department of homeland security and hospitals have raised serious concerns
about cyber security of medical devices and possibility of attacks.

85. Related to security. Ms. Trivedi was proactively and diligently doing her job in this
regards. Scott Erven —security researcher has been invited on various seminars for cyber
security...so because of my efforts partly these cyber securities are getting attentions.

86. In 2015, the Securities and Exchange Commission (SEC) settled charges that R.T.
Jones Capital Equities Management violated the “safeguards rule” ; regarding its failure to
adopt reasonable policies and procedures. Even though no one appeared to be harmed, the SEC
censured R.T. Jones and fined the firm $75,000. Justifying the enforcement, the SEC said, "Firms
must adopt written policies to protect their clients’ private information and they need to
anticipate potential cybersecurity events and have clear procedures in place rather than waiting

to react once a breach occurs." In the Matter of R.T. Jones Capital Equities Mgmt. Inc.,

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Investment Advisers Act Release No. 4204 (Sept. 22, 2015), available at
hittps://www.sec. gov/litigation/admin/201 5/ia-4204.pdf

87. The Voya settlement represents a substantial step forward in the SEC’s regulation
of cyber-related activities. In the Matter of Voya Financial Advisors Inc., Exchange Act Release
No. 84288, Investment Advisers Act Release No. 5048, at 3 (Sept. 26, 2018), available at
https://www.sec. gov/litigation/admin/2018/34-84 288. pdf.

88. GE was knowingly, defiant of lacked security and defects and despite my
reporting and GE themselves knowingly,

89. “For public companies and other entities regulated by the Securities and Exchange
Commission, mismanagement of their cybersecurity violate securities laws.”

90. A material defect is one that the Seller is aware of and would have materially
impacted your terms of purchase and which the Seller was aware.

91. SEC's expectations highlights the role of “cybersecurity whistleblowers,” those
reporting internally, in building the type of improved corporate culture necessary to discover

and remediate cybersecurity risks.

Vv.

 

GE issue in this matter goes into question the oversight of the board.

   

Under federal securities laws, directors have a legal obligation to disclose information to the
public.*Disclosure requirements are established by the Securities and Exchange Commission.

92. Pat Hale- MIT professor for Systems engineering and a past president of INCOSE(
International council on systems engineering)requested MIT general counsel to get involved and
address this matter. But MIT general counsel and staff declined. Pat Hale retired before couple of

years..

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VI. GE managers, senior management knew or recklessly failed to ascertain
whether those statements were false and misleading. this behavior, in violation of the
Securities and Exchange Act. SEC. 302. <<15 USC §7241.>> CORPORATE

RESPONSIBILITY FOR FINANCIAL REPORTS.

93. SEC has endorsed efforts to stop further violations of the Act, such as reporting
suspected misconduct to internal supervisors.

94. Laws prohibit deceptive practices for use, benefits of medical device. Failing to
disclose material information concerning its usage, operation, maintenance not as advertised,
sold and mentioned in contract agreement; with intentional inducement, failed to willfully

disclose and actively concealed defects.

D. Mediation and Arbitration with GE

95. After GE terminated me illegally I filed EB1 —person of extra ordinary ability
employment based -petition with USCIS(govt. agency);along with Harvard medical
executive creating job for me at Harvard (job was after I get my EB1 approved as earlier Harvard
said that they won’t do H1 B ) ; and my innovative startup orangehealth for peer to peer
crowdsourced support , management and actions for health conditions---and along with other
credible evidences —I also mentioned National interest waiver EB2 category in that petition; but
USCIS declined ...

96. Since I used up almost all of my H1 B time and there was no time left for another

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employer to do PERM with labor department in order for me to get further H1 B extension..Life
technology/thermos fisher scientific offered me fulltime job just two weeks after I was fired from
GE but got stuck at H1 B level as I mentioned I had no time on H1 for employer to do PERM.
97. Several immigration attorneys mentioned GE has finance/accounting cooked books,
checked history. Since next step in my immigration while I was at GE was to file
form 1140 with DHS/USCIS 1140 ; in 1140 form GE was required to show their finances
and total number of US based employees. So GE got rid of plaintiff and made up PRETEXT
issues of relationship skills to fire. Plaintiff can’t confirm nor deny this; as plaintiff lacks full
knowledge plus Trivedi haven’t spent my time verifying what those attorneys said. But writing
here what attorney told Trivedi.

98. GE immigration attorney and HR email that GE canceled my H1 B visa while
mediation and arbitration is PENDING. And won’t pursue any immigration I 140
paperwork.(EXHIBIT 11) —same Jenny Schrager —Mean fragomen lw firm attorney.

99. Trivedi filed Mediation statement(EXHIBIT 13) through Cross Law
firm( Waukesha, WI).

100. GE offered ONE MONTH salary-that’s it-nothing related to immigration at
mediation in return for plaintiff to waive all her rights/claims/cause of actions against GE.
Plaintiff declined to settle at mediation.

101. Trivedi filed arbitration complaint with American Arbitration association.
(EXHIBIT 4). She was pro-se / representing herself ;and prepared arbitration statement.

102. Arbitrator was insulting and continuously cutting me off from asking questions
during hearing ..when manager did perjury on second day morning of hearing I quit arbitration
hearing and GE finished it alone. .Arbitrator didn’t rule in my favor.

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103. After that Foley and Mansfiled sent a letter without bring up laws as I mentioned
earlier in this lawsuit filed in District of Columbia. I wrote an email to Seymour Mansfield in
2016 —that law firm failed to provide me legal service and bring up laws.

104. Sean Scillen Quarles and Bradley attorney who represented GE at arbitration- he
knowingly didn’t provide EXHIBIT 22; where manager Dave Sallis “gave good rating in my
performance review and wrote that it is GE’s problem”-Sean didn’t give this document during
discovery(otherwise I would called Dave Sallis as WITNESS in hearing—and gave on the day of
hearing —seconds before hearing began and I have that in hearing transcript.

105. Neil Stekloff ; GE’s internal counsel for employment and labor(EXHIBIT 2)
was involved. As a lawyer he also violated obstruction of justice.

106.17 CFR § 205 and (15 U.S.C. 7245) Case 3:15-cv-02356-JCS Document 132 SEC
amicus brief on attorney code of conduct Section 307 of the Sarbanes-Oxley Act of 2002 (the

"Act") (15 U.S.C. 7245)

It was GE counsel’s legal duty to report SEC violations but Sean Scullen-quarles and Bradley,

Neil and all others teamed up to cover-they should not be practicing law anymore.

 

E. GE declined government arbitrator; who told that he will RULE in Plaintiff's

FAVOUR if selected.

107. Peter Davis- a chief arbitrator/legal counsel at Wisconsin Employment
relations

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commission. peterg.davis@wisconsin.gov .He mentioned to me on phone that if he is selected as

 

an arbitrator for my case with GE, he will make sure to fix my immigration and he will rule in

my favor. He told me this on Dec 2013 that I is willing to talk about this to anyone...

108. GE attorney declined via email to have him as arbitrator (GE argued that if Peter
is selected then arbitration documents would have become public documents as he

was a PUBLIC ARBITRATOR hence GE is declining).

Subject: RE: Trivedi/GE Healthcare 11-15-2013 Ih [QBLLP-ACTIVE.FID36842469]

From: sean.scullen@quarles.comTo: madhuritrivedDate: Wed, 27 Nov 2013 20:55:08

I don't understand your question -- in a mediation the mediator doesn't take sides and is a
neutral that works with both parties to try to reach a voluntary resolution. In some of the

cases in which Mr. Gibbons has served as a mediator we have been successful in reaching

such a resolution and in others we have not. You are correct that the WERC people
are not mutually agreeable.

Sean Scullen

From: Madhuri Trivedi Sent: Wednesday, November 27, 2013 2:50 PMTo: Scullen,
Sean (MKE x1421)Subject: RE: Trivedi/GE Healthcare 11-15-2013 lh [QBLLP-
ACTIVE.FID36842469]

what about mediation that you worked with him on...so Wis. Emp. relations people are
not mutually agreeable between us.. Sincerely,Madhuri

From: sean.scullen@)quarles.com To: madhuritrivedi

Subject: RE: Trivedi/GE Healthcare 11-15-2013 Ih [QBLLP-ACTIVE.FID36842469]

Date: Wed, 27 Nov 2013 20:47:51 +0000
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Mr. Gibbons has not served as an arbitrator in a case that I have handled or for GE as far
as Iam aware. I'm not sure who the Wisconsin Employment Relations arbitrator you're
referring to is, but we are not interested in using someone from that entity.

Sean Scullen

From: Madhuri Trivedi Sent: Friday, November 22, 2013 11:20 AMTo: AAA Carol
PlacellaSubject: RE: Trivedi/GE Healthcare 11-15-2013

So we can have Peter Davis as arbitrator..If we can then I will contact Mr. Scullen. I

wanted to reach out to you first. Sincerely,Madhuri.

F. GE internal dispute resolution policy called ‘Solutions’ - Excluded Claims

and Law firms, attorneys’ plaintiff retained with PAID FEES didn’t provide legal advice
nor brought up to GE, mediator, arbitrator— SOX, Dodd Frank, Quitam, NDDA DOD and

several other laws, Whistleblower protection laws. Nor the ones who did free review.
109. GEHC Chief technology officer Mike Harsh told me on phone in 2017( he

came
to my arbitration hearing in 2014 and after hearing he left GE after 35 years of service.)
NO ATTORNEY will bring up laws that in my situation as GE pays a LOT to attorneys.

I GE internal dispute resolution policy called ‘Solutions’ =Excluded Claims,

110. excluded from Levels III and IV of Solutions, are claims that allege concerns such
as the following Claims that do not allege legally protected activity or enforceable
rights in the jurisdiction in question; ..Claims based on alleged violations of the GE
Policy on Working with Government including, but not limited to, alleged violations

of the federal False Claims Act ............Claims brought by or against Covered
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Employees, where a third party would be necessary to the resolution of any claims or
where the absence of the third party could subject the Company or the covered
employee inconsistent obligations, and all parties do not agree to participate in Level
II and are to be bound by an arbitration under Level IV of solutions policy.-—-—------
Excluded Claims, which are excluded from Level IV of Solutions: In addition,
claims which, by applicable statute, regulation or other legal requirement are
precluded from mandatory coverage under a pre-dispute binding arbitration are

considered excluded from level IV solutions.(see appendix C)

Appendix C
In addition to the descriptions in Sections K (“Covered Claims ”) and L (“Excluded
Claims”) of the Solutions Procedure, claims that are considered “Excluded
Claims” with respect to Level IV of Solutions, because by applicable statute,
regulation or other legal requirement they are precluded from mandatory coverage
under a pre-dispute binding arbitration agreement, include:
Claims arising under section 1514A of the Sarbanes Oxley Act of 2002, as
amended,
Claims arising under section 1057 of the Dodd-Frank Wall Street Reform
and Consumer Protection Act
Claims arising under Section 748 of the Dodd-Frank Wall Street Reform
and Consumer Protection Act (relating to Section 23 of the Commodity Exchange

Act)

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111. Jeff Goldman sent a letter to GE but he was just an immigration attorney so it is
understood that He can’t bring up employment rights.
112. But other attorneys who I paid were. All of the below mentioned attorneys
READ —
GE’s solutions policy which is ADR- mediation, arbitration and it states Dodd Frank,
quitam, SOX and other excluded claims as stated above..but none of these attorneys told me
anything regarding this and I found out on my own LATER kind of recently about Dodd Frank
act related section 718 excluded claims. So I was kept in DARK by my own hired employment

attomeys.

113. Law firms attorneys never mentioned my rights and laws related to GE violations

related to any of above excluded claims and more. Though it clearly says that Dodd Frank Act
section 718 whistlblower claims are excluded. Since GE is a public company as lawyers it was

their duty tell me about SEC and fraud and filing a lawsuit under Dodd Frank act section 718 that!

 

I am eligible in court. -- as per legal, professional, ethical obligations as they were PAID money
to represent, retained and conduct mediation, arbitration and send legal letter to GE. provide

legal consultation... bring up laws ..But no one did..

114. And I lacked legal knowledge. For me it was like a sailing in legal ocean and
reading laws.. And I trusted kind of what they told which was a BIGGEST MISTAKE.
115. (a)CROSS LAW Firm in Waukesha, WI(www.crosslawfirm.com)
I paid this law firm .Cross law firm represented me at mediation and prepared mediation
statement and sent to GE.

116. Cross law firm attorney should lose their attorney license and disbarred for what
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they have done. Look at EXHIBIT 13 ;mediation statement ; they didn’t bring up any laws
,»whistleblower rights other than simple discrimination. They didn’t even mention retaliation after
reporting discrimination, unlawful employment practice (42 USC § 2000e-3(a) )or anything.
Law they cited was 42 USC § 2000e-2(a)(1)..Hence their mediation statement was flawed and
the intentionally DID THIS.

117. Later Cross law started threatening me to settle with GE by taking one month

salary (I have those emails) and waive all my rights and claims against GE. Cross law firm

left. David Rosenow told me that as GE is his neighbor in little town Waukesha, WI; He

 

won’t mention that GE was doing fraud in my mediation statement. (cross law firm was
fired by me) after they forced me to settle and even didn’t bring any claims. I did mediation
alone. Cross law firm didn’t bring up Quitam claims in mediations statement , SEC Dodd Frank
act Section 718, 10 U.S.C. §2409 Subpart 203.9,SOX —OSHA, obvious as black and white
clarity that they were SOLD. (Other attorneys were not willing to work on alternate dispute
resolution as they litigate in court and hated GE ADR plus said that they are not experts etc etc.;
so I was stuck with Cross law firm as clock was ticking)

From: Attorney Daniel L. Rosenow [mailto:drosenow@crosslawfirm.com]

Sent: Friday, September 13, 2013 9:33 PMTo: 'Madhuri Trivedi'Subject: RE: info for

breaches.

Ms. Trivedi,

Given that it was your job to find and fix such security breaches, there is a significant

hurdle for you to overcome in stating a whistleblower retaliation claim.

118.  (b) Despres, Schwartz and Geoghegan, Ltd. (dsgchicago.com)

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I paid this law firm .This law firm was hired to represent me at Arbitration hearing. They sent
Pre arbitration hearing brief to GE and arbitrator (EXHIBIT 14).... his theme was
when it comes to competent women “soft skills" becomes a proxy for “too aggressive,” i.e., not
acting like a woman —

119. But he didn’t bring up any whistleblower, SOX, DOD Frank claims and other
claims as I mentioned here in brief nor mentioned to me nor to GE when he represented me...I
wantedto bring whistleblower retaliation, HIPPA laws retaliation, Cybersecurity related
retaliation and more...he left and I did arbitration on my own without an attorney.

120. (c) Foley and Mansfield (foleymansfield.com)

I paid this law firm for all the work they did. Later I contacted Foley..I told them for Quitam
matter..Look at the letter they sent to GE(EXHIBIT 15) ..They also didn’t bring Dodd Frank act
whistleblower, SOX, any claims mentions here when they sent a letter to GE, later negotiated
with GE nor afterwards. Immigration right ( ) —was included in a leter to GE because I emailed
them about this as I read.

121. Foley didn’t mention which to me appears as (intentional omission or /and
negligence) on any steps related to OSHA complaint, SOX whistleblower even though I gave
them what I submitted to OSHA, OSHA complaint and OSHA response. I wrote an email to
Seymour Mansfield in 2016 —that law firm failed to provide me legal service and bring up laws..

122. Though David haron at Foley was looking into quitam; but his two partners were
pregnant and he didn’t know; and he said that one of the Quitam case with Quest diagnostics is
going to Trial etc etc-

123. IT also sent arbitrator final award to them and they didn’t provide any guidance on

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going to court after arbitration award. Also Foley didn’t mention/bring up any rights related to
appealing arbitration or going to court .And as my lack of legal knowledge I relied on them and
assumed/believed that there was nothing I can do..But later I learnt than one can go to court
shortly after arbitration to challenge arbitrator award.
Other Attorneys

124. (a)I didn’t HIRE OR PAY Andrew Beato- He looked at my claims free.
Andrew Beato was looking himself into Quitam matter but somehow GE found out and GE
contacted Andrew’s partner to represent GE in another matter..So Andrew left saying that as his

law firm partner is going to represent GE ,he can’t work on my quitam /false claims act case.

From: Andrew M Beato <ABeato@steinmitchell.com>Date: Tue, Sep 9, 2014 at 3:27

 

PMSubject: Re: Call To: Madhuri Trivedi <mcis99@gmail.com>, "James R. Kelly"

<JKelly(@steinmitchell. com>

Thank you Madhuri. I appreciate your clarification. Ifthere are any other reporting or
disclosures you made to government agencies or to attorneys, please let us know so that

we are aware of it. In the meantime, we appreciate your patience.

Andrew M. Beato ,Stein Mitchell Muse Cipollone & Beato LLP

1100 Connecticut Avenue, NW Suite 1100 Washington, DC 20036(202) 737-7777 (Main
Number) (202) 296-8312 (Fax) ABeato@SteinMitchell.com

From: Madhuri Trivedi <mcis99@gmail.com>Date: Tue, 9 Sep 2014 17:03:39 -0500
To: James Kelly <JKelly@steinmitchell.com>Cc: Andrew Beato
<abeato@steinmitchell,.com>

Subject: Re: Call
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Attorney Andrew, thanks for your time. I had reported to OSHA-whistleblower.gov.

125, They looked in to it. and said it does not fit into their 22 statues. They have device
manufacturing related statue but it excludes medical device and drug manufacturers. THey said it
is a valid concern, And employee does not have to prove , as long as have believed reasonably
that there was a violation and reported. But in my case I had evidence which was good.

126.  (b)I didn’t HIRE OR PAY David Nelson. He looked at my claims free. David
Nelson —SEC attorney (David Boise law firm attorney and he was SEC regional director prior to

that) reviewed my matter in 2013-2014 but he didn’t mention to me which whistleblower

 

laws, which SEC laws, what needs to be done next ,-only things he mentioned after reviewing

 

 

along with his assitant was that I have valid, SEC claims against GE but his law firm represents
defendants and also they change hundreds of thousands in retainer and lot more to represent me
in SEC matter.

From: David Nelson <dnelson@bsfllp.com>

Date: Mon, Jun 23, 2014 at 9:21 AM

Subject: RE: should I send my deposition ?

To: Madhuri Trivedi <mcis99@gmail.com>

Cc: Aaron Marcus <amarcus@bsfllp.com>

Madhuri, today is hectic and I have some meetings tomorrow. Is Wednesday possible for

you at some point? Dave David Nelson

BOIES, SCHILLER & FLEXNER LLP

401 East Las Olas Blvd. Suite 1200 Fort Lauderdale, FL 33301

(Ph) 954.356.0011 (Direct) 954.377.4233 (Cell) 954.213.8810

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127. (c) Scott Oswald of employment law group- employmentlawgroup.com, and is
assistant reviewed everything but never brought up SOX, Dood Frank act and/or
other claims ----...

128. (d)To some I just paid consulting fees and to some they reviewed without any

fees but none of them mentioned Dodd frank Act related claims or other claims.

FIRST CAUSE OF ACTION

SECURITIES EXCHANGE ACT OF 1934, 15U.S.C. 78j(b), AND 17 C.F.R. 240.10b-5

129. Plaintiff Trivedi incorporates by reference paragraphs 1 to 128 above, as though
fully set forth herein, as well as facts currently unknown.
130. Cases that held misleading product and service information to be the basis
for Rule 10b-5 liability include Warshaw v. Xoma, 74 F.3d 955 (9th Cir. 1996); In re Apple
Computer Sec. Litig., 886 F.2d 1109 (9th Cir. 1989); and In re Carter-Wallace Sec. Litig., 150

F.3d 153 (2d Cir. 1988).

 

131. As SEC Chairman Clayton noted in his September 20, 2017 public statement,

“Cybersecurity vulnerabilities can result in denials of service and the destruction
of systems, “loss or exposure of consumer data, theft or exposure of intellectual
property, and investor losses resulting from the theft of funds or market value
declines in companies subject to cyberattacks.” Protecting employees who
report information security deficiencies is critical to enabling companies to

detect cybersecurity threats that may otherwise go undetected.
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132. 17C.F.R. § 229.303(a)(3)(ii); see also Donald C. Langevoort & G. Mitu Gulati,
The Muddled Duty to Disclose Under Rule 10b-5, 57 Vand. L.Rev. 1639, 1680

(2004). It follows that Item 303 imposes the type of duty to speak that ean, in

 

appropriate cases, give rise to liability under Section 1 0(b).
133. "an omission is actionable under the securities laws when the corporation is
subject to a duty to disclose the omitted facts." In re Time Warner Inc. Sec. Litig., 9 F.3d 259,
267 (2d Cir.1993); see Glazer v. Formica Corp., 964 F.2d 149, 157 (2d Cir.1992). Such a duty
may arise when "statute or regulation requiring disclosure," or a corporate statement that would
otherwise be "inaccurate, incomplete, or misleading." Glazer, 964 F.2d at 157 (quoting Backman
v. Polaroid Corp., 910 F.2d 10, 12 (1st Cir.1990) (en banc)); accord Oran v. Stafford, 226 F.3d

275, 285-86 (3d Cir.2000).

 

134. As required elements of those filings, Item 303 disclosures "give GE investors an
opportunity to look at the registrant through the eyes of management by providing a historical
and prospective analysis of the registrant's financial condition and results of operations. Due to
the obligatory nature of these regulations, a reasonable investor would interpret the absence of an

Item 303 disclosure to imply the nonexistence of "known trends or uncertainties

135. Trivedi allege that as per SEC rule 10b(5) ;GE’s failure to make adequate
disclosures under
v Cybersecurity risks, Regulation SK Item 503 (17 CFR § 229.503-Prospectus summary
and risk factors),

v¥ Management discussion of cybersecurity issues under Regulation S-K Item 303

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v Material weaknesses in internal controls under SOX Sections 302 and 404 addressing
cybersecurity

VY GE failing to disclose cyber security, information security issues, 465 critical defects
could be committing shareholder fraud or violating SEC rules relating above items

v InsiteEXC issues that materially affect the operations.

may serve as basis for a Section 10(b) claim against GE.

136. GE asa public company required to address cybersecurity issues in its public
filings pursuant to its requirement to disclose significant risks to its business. If in doing so GE(“
company”) omits known, actual threats, it may violate the securities laws. See Matrixx

Initiatives, Inc. v. Siracusano, 131 8.Ct. 1309 (2011) —

137. Regulation S-K prescribes certain disclosures that a corporation must include in
its public filings, such as its annual report (10-K) and its quarterly report (10-Q).4 Item 503(c) of
SEC Regulation S-K requires a corporation to disclose risk factors and discuss the most
significant factors that make an offering speculative or risky (17 C.F.R. Part 229.503(c) —
company may violate SEC Rule 10b-5 when making public disclosures if it misstates or omits a
material fact See 17 C.F.R. § 240.10b-5 — that’s what GE did for it’s 465 defects, shity
InsiteEXC and cybersecurity issues.

138. In relevant part, the rule states:“TIt shall be unlawful for any person ... [t]o make
any un true statement of a material fact or to omit to state a material fact necessary in order to
make the statements made, in the light of the circumstances under which they were made, not

misleading...in connection with the purchase or sale of any security.”
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139. GE publicly dismissed reports Scott Erven submitted in 2015 in —Forbes news
article .

140. Vulnerable Breasts And Brains? Cancer Scan Tech Has Terrible Password
Security https://www.forbes.conysites/thomasbrewster/2015/07/10/vulnerable-

breasts/#62a219406b5a_ July 10 2015

 

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bones. But what if the humans who created those technologies didn’t secure
them properly from outside tampering, potentially leaving patients open to
dangerous doses of radiation? A researcher has uncovered a wide range of
X-Ray and CT (computerised tomography) technology that appears to be
vulnerable. And it's that old problem, the use of poor passwords, that's to

blame.

Looking through reams of publicly accessible documentation, researcher
Scott Erven, from consulting firm Protiviti, discovered that one of the
biggest medical device providers in the world, GE Healthcare , had pushed
out a large number of nuclear imaging machines with weak default
credentials. These included the Discovery NM750b, a dedicated breast

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Erven told GE about the issues back in August last year, before informing
the US government-funded Industrial Control System Computer Emergency
Response Team 11S|+0% (ICS-CERT). He is unsure whether GE is going to
address the problems, saying the company’s response was to say they were
just default passwords and could be changed. But Erven said in some cases
the documentation specifically asked the user not to change default
passwords, as it may prevent GE services providing support. Erven often

found it hard to find any information from GE on how to change passwords.

"GE Healthcare’s general recommendation is that customers should change
default passwords on their healthcare devices wherever possible to increase
the protection and security of their medical systems, and guidance is

provided in device documentation," a GE Healthcare spokesperson said.

"It is important for our customers to decide on the levels of security they
place on all their medical technology to ensure availability for their care
needs as it will depend on how the devices are used in a hospital setting. GE
Healthcare significantly invests in privacy and security and will continue

staff training to support our customers."

The dangers of an attack on nuclear imaging technology are patent. First,
there's the risk that private data, literally data from under people's skin,
could be stolen, as well as any other patient information stored on the
affected machine. Second, if the configuration can be changed and the
dosing increased, there's a physical threat, according to Erven.

Nuclear imaging sees patients exposed to ionizing radiation, where particles
penetrate tissue to map out the innards of the body. Such radiation can
damage DNA and high doses might increase the risk of cancer.

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141. Section 10(b)’s materiality requirement is satisfied when there is “a substantial

likelihood that the disclosure of the omitted fact would have been viewed by the reasonable

investor as having significantly altered the ‘total mix’ of information made available.”

142. Sales information online for medical devices and public press release----and
elsewhere where GE ommitted and misstated /failed to disclose any Insite issues/facts/truth --
instead bolstered it .youtube video (EXHIBIT 17).

143. Web content inadvertently be considered an offer to sell or solicitation to buy
Securities.

144. The SEC has acknowledged the role of company websites and social media
platforms in communicating with investors (e.g., for purposes of Regulation Fair
Disclosure, or “Regulation FD”)

According to the SEC in the May 2000 Release (see Section II(B)(1)), a company may be

subject to the antifraud provisions of the federal securities laws for any page on its

website if the page “reasonably could be expected to reach investors or the securities
markets regardless of the medium through which the statements are made, including the

Internet.”

145. A company should assume that all or substantially all of its web content may

expose it to liability under the securities laws. Material misstatements or omissions in web
content may be violations of Rule 10b-5 under the Securities Exchange Act of 1934. In addition,

as the definition of the term “offer” in Section 2(a) of the Securities Act of 1933 is interpreted

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broadly, many web pages, including web pages intended to serve market or promotional

functions, might be considered to contain an offer under the Securities Act.

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146. As per (hitps://www.investopedia.com/terms/s/sec-form-def-14a.asp)
SEC Form DEF 144A is most commonly used in conjunction with an annual meeting
proxy. The form should provide security holders with sufficient information to allow them
to make an informed vote at an upcoming security holders' meeting or to authorize a
proxy to vote on their behalf. Proxy statement it discloses material matters of the
company relevant for soliciting shareholder votes and final approval of nominated
directors as in DEF 14A.
Form DEF 14A is often overlooked by the average investor. It contains key details on
corporate governance, listed in the next section, that are scrutinized assiduously by
activist and like-minded investors. The proxy statement helps shareholders understand
corporate governance practices when it comes time to cast their votes for the proposed
items. Lifting the Veil on Corporate Governance Practices
SEC Form DEF 14A is a shareholder's main document to understand the composition of
the board of directors and how they oversee management of the company. The board is
responsible for the formation and running of committees-- Activist investors serve an
important function in speaking up when they find certain corporate governance practices
objectionable.
147. IfGE would have disclosed InsiteEXC material information ; it would have given
GE shareholders including activist investor; TRUE STORY and STATE about their
connectivity which ; Jeff lmmelt and Still today GE is making multi billion bet. It

would have made investors take into consideration HIGH STAKE and RISKS<

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LIABILITIES that connecting GE assets to internet brings and it’s history, corporate
culture about these issues, mindset. It is clearly shows how serious GE and it’s
management is. Cyber Security researchers have also shown concerns.
148. To best of plaintiff's knowledge and search using -EDGAR Search Tools on
SEC. gov website; searching GE’s public filing with SEC including since 2007 to
2018;type of filings 10-Q, 10-K, 8-K, DEF 14-A...
vit shows that GE painted ROSY picture of it’s digital solutions (Internet of Things platform
where Jeff Immelt put billions). Mentioned that “it’s market is up to $8 billion and wants
everybody using it” as stated in 8-K form.
v¥ GE DEF 14A —annual reports from 2012, 2014,2011,2013 has no mention of broken
InsiteEXC( period realted to Trivedi’s employment and arbitration)
¥Y Also ---but intentionally not disclosing that still ther CYBERSECURITY for
these connected devices ( upto 2018 government DHS alert)is in STONEAGE (EXHIBIT 1) ;
vulnerable to hack, exploit and manipulation by a LOW SKILLED person(anyone with a low
skill could hack and attack, take full control of medical device, stop device from functioning,
change setting and more of such attack vector) which GE knew since 2014..But never made it
public, nor filed any SEC filing in terms of 10-K, 10-Q, 8-K , DEF 14-A. No mention in Item 7.
Management’s Discussion and Analysis of Financial Condition and Results of Operations,
SIGNIFICANT TRENDS & DEVELOPMENTS MD &A,Forward-Looking Statements, "Risk
Factors" , Item 7 operations.. Forward-Looking Statements" in BHGE’s most recent earnings

release or SEC filings; ande the other factors that are described in "Risk Factors"

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150. To best of plaintiffs knowledge and search using -EDGAR Search Tools on
SEC. gov website; searching GE’s public filing with SEC
Filing 10-K - For year 2007 ,2008,2009,2010,2011,2012,2013,2014,2015,2016 mentions
INSITEEXC as follow
Item 7 operations. SIGNIFICANT TRENDS & DEVELOPMENTS MD&A
Healthcare SEGMENT - Our product services include remote diagnostic and repair
services for medical equipment manufactured by GE and by others, as well as
computerized data management and customer productivity services.
OR
Healthcare systems also offers product services that include remote diagnostic and repair

services for medical equipment manufactured by GE and by others.

151. But GE’s omission of facts pertaining to an actual, known risk since 2007 about
InsiteEXC cybersecurity vulnerabilities and Scott Erven’s hacking exploit report from
2014, my internal reports from 2011 to 2013 to GE and later in 2014 during

arbitration, and even when I sent email to Mr. Flannery in 2017

violate the requirements of Regulation S-K Item 303 and Rule 10b-5.

152. Thus, reporting an information security issue that contradicts or undermines the

company’s management discussion and analysis of cybersecurity is protected under SOX, Dood

Frank act.

153.  Allofthese filings 10-Q, 10-K, 8-K,DEF 14-A has no mentioning abut cyber

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security before and since Madhuri was doing mediation/ arbitration in 2013 /2014—2015 DEF
14A says they care paying attention to cybersecurity in GENERAL while no mention of
InsiteEXC ..I am glad that I became a catalyst/inspiration for GE to atleast at general level add

cybersecurity word in their filings.

154. GE knowingly never released patch nor made press release/public disclosure nor

SEC filing about Icert /DHS alert about security vulberabilities related to Scott Erven nor me nor
all issues related to insiteexc....so these two are contradictory and shows that GE conspired
splayed with regulators and investors, public by saying something and doing something
else...because after reading DEF 14 A it looks nice that how GE is doing in digital world —
internet of things —but at the same time have not addressed and kept public vulnerable to hacking

attacks; and in effect CIRCA STONEAGE.

155. Later in 2016- 2017 filings GE included generic disclosures in their management

discussion and analysis about cybersecurity issues that could materially affect the corporation’s

financial condition and operations.

¥ On top ofall these Sachin Kendale who wrote code that took 40 minutes to load 1000
medical devices on a webpage; was never able to solve issues and support related to InsiteEXC
customers and PRODUCTION; who lacked technical competency ;as per Linkedin —in 2018
Sachin has been promoted to Senior engineering manager (Sachin holds one bachelor in
engineering from India) and architect driving GE’s PREDIX —internet of things. Putting

incompetent people who lack expertise and passion for cybersecurity is a “RECIPE FOR

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DISASTER”...Also GE sending a message that if you keep your mouth shut ( unlike Plaintiff

Trivedi); we give “TROPHY to the LOOSERs”

156. Misleading statements or omissions of fact are included in forward-looking
statements, the corporation GE may not be insulated. Required forward-looking
disclosure including totality of the company activity."

157. As GE made NO mention of cybersecurity vulnerabilities till date in its public

Filings.

158. GE violate Sections 302 and 404 of the Sarbanes-Oxley Act as it fails to disclose
material weaknesses in its internal controls related to information security. From 2007 to 2014
till Trivedi’s arbitration ; GE had not mentioned such cybersecurity related controls and it’s
weakness. Section 404 of SOX requires a corporation to assess the effectiveness of its internal
controls in its annual reports, and an outside auditing firm must evaluate that assessment.

Material weaknesses in those internal controls must be identified. 15 U.S.C. § 7213

159. 15 U.S.C. § 7213(a)(2)(A)Gii)1Da description, at a minimum, of material
weaknesses in such internal controls, and of any material noncompliance found on the basis of

such testing.

160. Section 302 of SOX requires a corporation’s CEO and CFO to personally certify
the accuracy and completeness of financial reports, and they must assess and report
on the effectiveness of internal controls around financial reporting.( 16 15 U.S.C. §

7241)

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161. All these years from 2007 to 2014 (Jeff Immelt certify ) and later upto 2018 other

CEO including Jeff Immelt.

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162. ( Inre Harman Int'l Indus., Inc. Securities Litigation, 791 F.3d 90 (D.C. Cir.
June 23, 2015) — https://www.cadc.uscourts. gov/internet/opinions.

nsf/1B7208ADC298E6C985257E6D00539C76/Sfile/14-7017-1559106.pdf. )

In Harman, an electronics company made forward-looking statements that reflected
positively on its sales outlook. However, the plaintiffs alleged the company was aware of
historical facts strongly indicating that its sales prospects were less than stellar. In
holding that the plaintiffs’ case could proceed, the court found that the company’s
cautionary statements about the forward-looking information were not meaningful
because they were misleading in light of the historical facts. Because the company
warned of only general, unspecified risks that could affect its rosy outlook, but did not
disclose actual risks that had already manifested, the safe harbor would not apply to the
forward-looking statements. The court explained that a “warning that identifies a
potential risk, but ‘implies] that no such problems were on the horizon even if a precipice

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was in sight,’ would not meet the statutory standard for safe harbor protection.’

163. Insite Exe application in production was vulnerable for online attacks and there

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were security issues. Madhuri reported ( as frustrated internal customers and online engineers
came to Madhuri, asking her help and opening support tickets) June 2012 that Insite Exc code
needs to build with newer version with security update to address memory/online attack issue..
"Enable memory protection to help mitigate online attacks" which was required to be
unchecked in settings in order to establish/install remote connectivity. (EXHIBIT 30 ).

164. Interesting is that given GE has enormous amount of money and resources; as
shown in EXHIBIT 30 it used out of date ACTIVE X controls. ActiveX in itself poses several
cyber securities threats and is not considered very good/ INSECURE PROTOCOL. ..Microsoft
has stopped providing support to ActiveX ; It is considered DEPRICATED for SECURITY
reasons too given it’s attack vector..

165. At GE; ActiveX controls were built without SECURITY update . ActiveX control
were required to be built using Visual Studio C++ 2005 or higher and it was June
2012(EXHIBIT 30)—It shows GE used old, out of date, STONEAGED cybersecurity
components. Since 100 or so online engineers were stuck and were not able to establish remote
connectivity due to this ActiveX issue...GE needed some quick fix...as I mentioned in the email
running ActiveX and establishing connectivity -encounter compromise.

166. The ActiveX security is designed on how USER of ActiveX chooses various
SECURITY options and be a Cyberpolice for own usage of ActiveX.The ActiveX security
model relied almost entirely on developers promising not to develop malware, Microsoft gave
the creators the ability to sign their applications. These digital signature certificates are double-
checked and certified by services like VeriSign. Identified code would then run inside the web
browser with full permissions .(In Java, user can put only partial trust in a program, while
ActiveX requires either full trust or no trust at all.), meaning that any bug in the code was a

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potential security issue; this contrasts with the sandboxing already used in Java. Java applets,
which perform many of the same functions as ActiveX controls, are heavily restricted as to how
they interact with a user's PC. Java applets can't erase files from a user's hard drive because it
uses “sandboxing “. ActiveX is not sandboxed at all. Once downloaded on a user's computer, the
ActiveX control becomes part of the operating system with the ability of tampering with every
piece of hardware and software on the machine.

167. Microsoft didn’t restricting ActiveX's functions, Every time Internet Explorer
needs to download a new ActiveX control, it launches a pop-up window. It then asks the user if
wants to proceed. Then user, has to decide whether the ActiveX control is legitimate or a Trojan
Horse for nasty/malware code. Microsoft gave the creators the ability to sign their applications.

168. A "good" plug-in or Good ActiveX program can also hurt. By accepting an
Active X program, user is trusting that the ActiveX program has no security-relevant bugs.
As we have seen so many times, systems that are meant to be secure often have bugs that
lead to security problems. With ActiveX, this problem is made worse if you click the box
which accepts all programs signed by the same person (for example, if user accepts anything
signed by GE/Vendor). While one GE/vendor program may be secure, another one may have a
security-relevant bug.

169. This problem even applies to code written by own company for internal use aka
GE written ActiveX. Once the plug-in or program is installed in user browser, an external
attacker could write a Web page which used User’s internal program ;bug passed_it OWN data
which corrupted the program and took over USER’s machine.

170. Trivedi suggested bandage-short term fix, security compromise and long term fix.

171. At GE “InsiteEXC” RAViewer was required to establish remote connectivity and

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many times online engineers/internal customers had to download/re-download it as per settings.

172. GE architect Bill Barbiaux, architect Nate Davis, Lead systems designer Gregg
Stratton all three of them with with GE from 20 years, 30 years ,10 years respectively.

But None of three had any clue and were doing this from 2007, from 2009 and in 2012 received
plaintiff Trivedi’s analysis and fidings....

173. GE argument that they can’t rebuild ActiveX with security update because ; they
bought huge chunk of InsiteEXC software/firmware code from company called “QUESTRA”
and Questra got bankrupt ; hence they don’t have access to source code..So GE has to make new
connectivity platform from GROUND up...But Chris Hardimen-Program manager for GE
connectivity mentioned that it is not Questra gone out of business but GE’s unwillingness to
spend some million dollars in fixing this..but GE bought Questra software in 2004 with major
update to that in 2007 and it was 2012 ; still they were sitting on pile of defects and cyber
security vulnerabilities; hoping and praying that nothing happens to their broken remote
connectivity platform while continuously & knowingly and after all this Trivedi talked—more
aggressively putting Insite on all kind of medical devices and selling it to customers
worldwide...

174. Even in new platform development which was no way near the end for years to
come even though Trivedi reported ActiveX securities; GE continued at that point to USE
ActiveX. After I left GE may have DROPPED or may not..I am not SURE as I did arbitration so

;GE might have taken it seriously or might not..

175. GE’s omission of facts pertaining to an actual, known risk could violate the

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requirements of Regulation S-K Item 303 and Rule 10b-5. Thus, reporting an information|
security issue that contradicts or undermines the company’s management discussion and analysis|

of cybersecurity could be protected under SOX.

176. Another example InsiteEXC sends health and diagnostics information from
medical devices back to GE server. And on number of occasions; GE customers and online
engineers contacted Trivedi directly as no one from front line support team was resolving
their issues. As Trivedi got such a PANIC call where customer mentioned to TRIVEDI that
MRI COIL temperature that medical device sends back to GE server—it was having issue (
this problem was consistent for more than six months to year) because that data is
somewhere getting corrupted; 4 degree Celsius is showing 40 degree Celsius and vice versa.
He was concerned as this could affect GE to address issues on MRI machine from
SERVICE point of view.

177. Trivedi mentioned this MRI customer call to her reporting manager David
Mehring and instead of addressing this David started continually harassing Trivedi and asking
her to improve relationship skills.

178. Plaintiff states that, to the best of her knowledge, "this false data related Insite2
has been reported “as accurate” by GE in wire communications such as the Internet.

179. Plaintiff also allege that GE "knowingly failed to comply with its Business Code
of Ethics, an internal control relied upon by both its auditors and shareholders," and that such
failure "renders the signature of its Chairman of the Board and Chief Executive Officer on its
annual report a violation of the Securities and Exchange Act and SOX.

180. It also seems GE's failure to state on its Form DEF 14A filings anything related to

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InsiteEXC may be an omission of material fact the disclosure of which would have made the
proxy statements "not false or misleading." Id. § 240.14a-9(a). Thus, in complaining that relevant
information did not appear in these SEC filings as required, Plaintiff allegedly implicates SEC

rules violations.

181. Trivedi has alleged "a strong inference of scienter" with respect to GE’s failure to
disclose..Trivedi has pleaded scienter adequately, satisfying statute requirement. Plaintiff Trivedi
allege facts giving rise to a “strong inference that the GE acted with the required state of mind."
Id. § 78u4(b)(2)(A). Trivedi has "alleged facts (1) showing that the GE had both motive and
opportunity to commit the fraud (2) GE ‘s action constituting strong circumstantial evidence of
conscious misbehavior or recklessness." Intent so GE can continue sale/ service contracts by
not getting exposed to corporate credibility, loose their market share, sales, revenue and more”.

182. GE engaged into Several Deceptive Marketing practices

183. These INSITE EXC service contracts play a significant role in GE healthcare
annual revenue --- GE was negligent, lacked sense of urgency to correct this conduct or to
report it to appropriate parties such as the FDA and its customers, government, investors because
doing so would have adversely affected the large profit from service contracts’ revenue and
fraudulent inducement from sales of GE healthcare medical devices . This would have adversely
affected company image in eyes of investors, and many other repercussions; would have
significantly reduced or eliminated bonus compensation and other stock based compensation for
GE executives to ensure that its officers would earn compensation related to economic

performance, that stock options and other stock-based compensation would be maximized

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....and also GE would have impact on receiving government contracts such DOD and Veterans
Affairs hospitals and other public private purchase of medical devices and service contracts.

184. Further disclosure of this fraudulent defective medical devices/remote service
would have significantly reduced GE’s revenue and reputation . . ., and a wide range of related
conduct all based on fraudulent data and the failure to report this material information of medical
devices fraud and related cybersecurity RISK and VULNERABILITIES.

185. GE had consistently reported/misled public and customers that InsiteEXC
quality, HIPPA, HITECH, robust cyber security (EXHIBT 17 and insite brochure, various
medical device manuals) while intentionally concealing that InsiteEXC is NOT in
compliance FDA's 21 CFR § 820.90 - Nonconforming product, product non conformances,
defects and cybersecurity vulnerabilities, aging platform that was falling apart and Scott
Erven’s report.

186. Plaintiff allege from this statements that GE committed securities fraud in

violations of manipulative and deceptive devices 15 U.S. Code § 78j(b), SEC rule
10b(5) ,17 CFR § 240.10b-5 - Employment of manipulative and deceptive devices

187. GE’s above mentioned conduct with scienter , directly or indirectly made

 

untrue statements of material fact and omitted to state material facts necessary

in order to make the statements made, in light of the circumstances under which
they were made; harmed investors as they relied on false,misleading, untrue
statemetns GE made in order for them to make investment decision regarding

GE.

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SECOND CAUSE OF ACTION
FOR WHISTLEBLOWER RETALIATION UNDER DODD-FRANK ACT

18 U.S.C.§ 15 U.S.C. § 78u-6(h)
SEC Rulel7 CFR § 240.21F-2

188. Plaintiff Trivedi incorporates by reference paragraphs | to 187 above, as though
fully set forth herein, as well as facts currently unknown.
189. Protected Activity Need Not Describe an Actual Violation! of the Law .

The SOX's legislative history indicates that the Accountability Act was
implemented to address not only securities fraud (in the aftermath of financial scandals
involving Enron, Worldcom, and Arthur Anderson), but also corporate fraud generally.
See S. Rep. No. 107-146, at 2 (May 2, 2002) ("This legislation aims to prevent and
punish corporate and criminal fraud, protect the victims of such fraud, preserve
evidence of such fraud, and hold wrongdoers accountable for their actions."|).

Sections 803, 804, and 807 of the Accountability Act address securities fraud
specifically. But other sections address infractions that do not involve fraud against
shareholders. Section 802 assesses criminal penalties upon persons who alter, destroy,
conceal, or falsify records "with the intent to impede, obstruct, or influence the
investigation or proper administration of any matter within the jurisdiction of any
department or agency of the United States." 18 U.S.C.A. § 1519. And Section 805
instructs the United States Sentencing Commission to review sentencing guidelines to
ensure that they include enhancements "for cases... in which the solvency or financial

security of a substantial number of victims is endangered," and ensure that those

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enhancements are "sufficient to punish and deter criminal misconduct by corporations."

S. Rep. No. 107-146, at 12-13.

 

190. Madhuri reported to her lead, manager David Mehring, senior manager Carl
Conrath, CEO Mike swinford, general manager david elario, HR manager Mike Truman and
later Mike Truman’s place/role was taken by a new HR manager Ayesha Khan so to her,
architect Bill Barbiaux, architect nate davis, manager dave sallis, Chief financial officer ,
Program manager Nicole Boyle, CTO Tim kottak and few others. She did written

communication via emails, note memo, and personal meetings.

191. Plaintiff Trivedi did not need to specify which laws she thought were violated:
she needed only identify specific conduct she believed to be illegal. See Ashmore v. CGI Grp.
Ine. No. 11 Civ, 8611(LBS), 2012 WL 2148899, at *6 (S.D.N.Y. June 12, 2012) (quoting Welch
v. Chao, 536 F.3d 269, 276 (4th Cir.2008)).

192. GE once said it is none of Trivedi’s concern and later during last months and

Level I —alternate dispute process said that it was her job; but as below .

193. see Barker v. UBS AG, 888 F.Supp.2d 291, 297 (D.Conn.2012) (whether
plaintiff's activity was required by job description is irrelevant), and that Plaintiff

does not allege she specifically reported concerns of fraudulent and illegal activity, see

Ashmore, 2012 WL 2148899, at *6 (plaintiff's need not identify which law they believe

was broken, but need only identify conduct they believe to be illegal).

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that it was part of Plaintiff's job to identify risk management issues, which is all she did

here, see Barker v. UBS AG, 888 F.Supp.2d 291, 297 (D.Conn.2012) (whether plaintiff's

 

activity was required by job description is irrelevant), and that Plaintiff does not allege
she specifically reported concerns of fraudulent and illegal activity, see Ashmore, 2012

WL 2148899, at *6 (plaintiff's need not identify which law they believe was broken, but

need only identify conduct they believe to be illegal)

194. As per SEC brief filed in -DANIEL BERMAN v. NEO@OGILVY LLC and WPP

GROUP USA, INC., (Case no:- 14-4626 UNITED STATES COURT OF APPEALS FOR THE
SECOND CIRCUIT )By providing new incentives and protections for individuals to engage in
whistleblowing activity, the Dodd-Frank whistleblower program enhances the existing securities-
law enforcement scheme, including internal company reporting........... Using its broad
rulemaking authority, the Commission adopted a rule clarifying that employment retaliation is
prohibited against individuals who engage in any of the whistleblowing activity described in
Section 21F(h)(1)(A)(iii)—including making internal reports at public companies of securities

fraud violations ....

195. By continuously releasing even after Plaintiff raised and reported retaliation that
“Insite is defective” — GE continued releasing “InsiteEXC”. 18 U.S. Code § 1343. Fraud by wire,
radio, or television -includes any writings, signs, signals, pictures or sounds transmitted by wire,
radio or television in interstate or foreign commerce.(EXHIBIT 17 GE product).
GE on
v it’s website,

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Yon internet,

¥ youtube video ( https://www.youtube.com/watch?v=xUOw2 A0t9vE ) which was
uploaded to youtube on January 30,2013 touting instant connection, data protection,
proactive monitoring, remote maintenance, system security,maximized up-time while
omitted defects;

GE Healthcare
Published on Jan 30, 2013

A service platform engineered for a fast, efficient response.

GE has developed a unique technology which allows its service engineers to look into the heart of
any equipment linked by a broadband connection. From a distance they can examine the error log,
check functioning of individual parts, and diagnose what actions are needed to fix the problem.

Y sales, marketing and while using product in hospitals product manuals concealed
InsiteEXC defect, cybersecurity vulnerabilities- hence plaintiff allege that GE
committed fraud.

196. Trivedi made disclosures that were required or protected under the Sarbanes-
Oxley Act of 2002 (15 U.S.C. 7201 et seq.) the Securities and Exchange Act of 1934, including
15 U.S.C. section 78j-1 (m), section 1513 (e) of title 18, and other laws, rules, or regulations

subject to the jurisdiction of the SEC

 

197. Trivedi had both a subjectively and objectively reasonable belief that the conduct
being reported violated a listed law, rule, or regulation.

198. _GE including its CEO, CTO,CFO and others, knew or suspected that Trivedi

 

engaged in such protected activity.
199. Trivedi was terminated after being framed to improved her relationship skills.

200. Trivedi’s protected activity discussed above was a contributing factor—and

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indeed the reason for—her termination.

201. Asa proximate result of GE’s actions against Trivedi, as alleged above, Trivedi
has been harmed in that she has suffered the loss of wages, benefits, and additional amounts of
money she would have received if she had not been subjected to said treatment along with
immigration harm:H1 B visa, ability to get employment based greencard under _a person of
exceptional ability/advanced degree” where at GE her PERM with department of labor was
already approved but due to GE’s illegal termination I 140 was never filed.. Trivedi has also
been harmed in that she has suffered humiliation, mental anguish, and emotional and physical

distress.

THIRD CAUSE OF ACTION
VIOLATIONS OF WHISTLEBLOWER PROTECTIONS UNDER SARBANES-OXLEY

ACT 8 U.S.C, § 1514A, et seqg., 1514A(a)(1)

202. A Plaintiff Trivedi incorporates by reference paragraphs 1 to 201 above, as

though fully set forth herein, as well as facts currently unknown.

203. SOX protects corporate whistleblowers for engaging in protected activities
includes wire fraud, mail fraud, healthcare fraud and a violation of any SEC rule or regulation.
204. To be protected under SOX, the employee's report need not “definitively and

specifically” relate to one of the listed categories of fraud or securities violations in

 

Section 806 of SOX. The focus is “on the plaintiff’s state of mind rather than on the defendant’s

conduct.” Guyden v. Aetna, Inc., 544 F.3d 376, 384 (2d Cir. 2008).

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205.

206.

207.

208,

Trivedi while employed at GE reported to management that GE is not adhering

following in regards to highly defective InsiteEXC medical device

 

21 CFR § 820.90 - Nonconforming product
HIPAA 45 C.F.R. § 164.530 (g). HIPPA 164.306 Security standards:
HIPAA 45 C.F.R. §164.308(a)(1): Security Management Process
- Implement security measures sufficient to reduce risks and vulnerabilities to a
reasonable and appropriate level to comply with § 164.306(a).
HIPPA 164.312(b) Technical safeguards — Standard: Audit controls

Audit controls refer to the capability to record and examine system activity.
Security management process HIPPA 164.308(a)(1)Gi) Information System
Activity Review —Required. The company’s security controls are seriously lacking
which is part of SOX internal controls.
Medical devices are vulnerable to cybersecurity related ; hackable
Lacks proper quality control, testing, automated static analysis of software/code for
InsiteEXC is not being used.

Technical leads, architect and manager lack proper technical understanding, lack

technical knowledge, lack big picture /systems level , lack cyber security knowledge.

In FIRST and SECOND CAUSE OF ACTION; plaintiff alleged violations of
SEC rules and regulations.

18 U.S.C. 1514A(a)(1), including when the employee provides information or
assistance to someone with “supervisory authority over the employee” or with
authority to “investigate, discover, or terminate misconduct”

as Plaintiff Trivedi did.

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209.

as per Donaldson v. Severn Sav. Bank, F.S.B. Vanessa L. Donaldson brought a
SOX whistleblower action against her former employer, Severn Savings Bank (“Severn”’)
. [T]he federal criminal fraud statutes . . . prohibit the scheme to defraud .Materiality of
falsehood . .. was a common-law element of actionable fraud at the time these fraud
statutes were enacted and is an incorporated element of the mail fraud, wire fraud, and
bank fraud statutes. ... But § 1514A carries no independent materiality element.
Consequently, Donaldson’s objective belief need not be about a material matter, as
Severn has argued. Rather, her objective belief must be based on facts permitting an
inference that [the manager’s] allegedly false representation was material to Severn’s
course of conduct. The court found that Ms. Donaldson met this standard because the
manager's alleged inflation of the retail production figures was intended to, and likely

would, affect the size of a bonus awarded him by Severn.

210. Significantly, SOX protects internal disclosures.

211. GE knew in July 2014 that I spoke with FBI and FBI said it is quitam.

212. As per SEC. 1107. RETALIATION AGAINST INFORMANTS. (a) IN
GENERAL—

Section 1513 of title 18, United States Code, is amended by adding at the end the

following: “‘(e) Whoever knowingly, with the intent to retaliate, takes any action

harmful to any person, including interference with the lawful employment or livelihood of

any person, for providing to a law enforcement officer any truthful information relating

to the commission or possible commission of any Federal offense

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213. So when we were negotiating in 2014 and GE knew about Quitam ; even in
violation of SEC. 1107. RETALIATION AGAINST INFORMANTS. (a) IN GENERAL—
Section 1513 of title 18, United States Code, is amended as mentioned in above paragraph didn’t
give a damn to settle the employment and immigration matter with Trivedi/plaintiff nor made
any public release about InsiteEXC

214. It also seems GE's failure to state on its Form DEF 14A filings anything related to
InsiteEXC may be an omission of material fact the disclosure of which would have made the
proxy statements "not false or misleading." Jd. § 240.14a-9(a). Thus, in complaining that relevant
information did not appear in these SEC filings as required, Plaintiff allegedly implicates SEC
tules violations; which are sufficient to state a plausible claim under SOX. Along with filings in
10-K, 8-K ,10-Q and violations of 15 U.S.C. § 7213(a)(2)(A)(iii)(IIDa description, at a
minimum, of material weaknesses in such internal controls, and of any material noncompliance
found on the basis of such testing and Section 302 of SOX requires a corporation’s CEO and
CFO to personally certify the accuracy and completeness of financial reports, and they must
assess and report on the effectiveness of internal controls around financial reporting.( 16 15

U.S.C. § 7241)

215. Trivedi met SOX standard because the managers’ and GE’s alleged concealment
of defects, deceptive sales and marketing of medical devices and services, fraudulent
inducement, was intended to, and likely would, affect the revenue, profit, sales amount for GE;

and bonus and executive pay/stock options to GE executives and pay to managers/employees.

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Therefore Trivedi/plaintiff had an objectively reasonable belief that [the GE employees,
managers, GE executives and GE company were] engaged in a scheme to defraud government,
consumers, patients and investors and violating such laws.”

39 66

216. Plaintiff Trivedi made objective reasonableness,” “subjective good faith,” or a
disclosure that is “not knowingly false) WESTMAN & MODESITT, supra note 11, at 81; seq

also Cherry, supra note 53, at 1047. ) ; about GE allegedly fraud/such activities.

 

217. Plaintiff (1)she engaged in protected activity;(2)the employer GE knew that she

engaged in the protected activity;(3)she suffered an unfavorable personnel action; and(4)the

 

protected activity was a contributing factor in the unfavorable action.

 

218. Plaintiff engaged in protected activity under SOX related to reporting
cybersecurity vulneralities .GE took unfavorable personnel/professional action due to

plaintiff's protected behavior or conduct.

FOURTH CAUSE OF ACTION

45 CFR § 160.316 REFRAINING FROM INTIMIDATION OR RETALIATION

   

45 CFR § 164.530(g) STANDARD: REFRAINING FROM INTIMIDATING OR

RETALIATORY ACTS

219. A Plaintiff Trivedi incorporates by reference paragraphs | to 218 above, as

though fully set forth herein, as well as facts currently unknown.

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persons opposing any act or practice made unlawful under the chapter).W.S.A. § 230.83.

 

 

220. The new HITECH Act promises more rigorous enforcement of HIPPA (Health
Insurance Portability and Accountability Act of 1996). The legislation includes
mandatory penalties for “willful neglect.”

221. Wisconsin W.S.A.§ 230.81. See 45 CFR 160.316 (precludes retaliation against

 

222. 45 CFR 160.316 -A covered entity may not threaten, intimidate, coerce, harass,
discriminate against, or take any other retaliatory action against any individual or
other person for—(c) Opposing any act or practice made unlawful by this subchapter,
provided the individual or person has a good faith belief that the practice opposed is
unlawful, and the manner of opposition is reasonable and does not involve a
disclosure of protected health information in violation of subpart E of part 164 of this

subchapter.

[71 FR 8424, Feb. 16, 2006, as amended at 78 FR 5691, Jan. 25, 2013 ---

 

 

https://federalregister. gov/citation/78-FR-5691---
It is the responsibility of all [ORGANIZATION] employees to report perceived

misconduct, including actual or potential violations of laws, regulations, policies,

procedures, or [ORGANIZATION] [CODE OF CONDUCT].

223. David Mehring and Leads claimed that these issues were not her concern. Ms.
Trivedi pointed out, and their response was to penalize her for speaking up and not quietly
falling in line and pretending that the problem did not exist; and join GE fraud scheme.
Managers and leads did not care to provide enough time in project schedule.

224. As alleged earlier 465 design nonconformance and defects in production software

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of Insite Exc ; not in compliance with **FDA guideline for Non-Conforming medical devices.
21 CFR § 820.90 Subpart I--Nonconforming Product, HIPPA 164.306 Security standards:
General rules, HIPAA 45 C.F.R. §164.308(a)(1): Security Management Process
- Implement security measures sufficient to reduce risks and vulnerabilities to a reasonable
and appropriate level to comply with § 164.306(a), § 164.530 Administrative requirements.

225. ‘There were total 2000 bugs in defect database including 465 critical/design
nonconformance. Which GE closed after | reported without doing anything-GE closed
these defects in an hour in early 2013.

Ms. Trivedi pointed out the missing audit trail /proper logging issue in

connectivity product design via email. Ms. Trivedi was retaliated against for pointing out
contravention of code/law. HIPPA/HITECH law puts emphasis on proper audit trail/logging
requirements;HIPPA 164.312(b) Technical safeguards — Standard: Audit controls Audit
controls refer to the capability to record and examine system activity. Security management
process HIPPA 164.308(a)(D(ii) Information System Activity Review —Required.

226. At GE Technical leads, architect and manager lack proper technical
understanding, lack technical knowledge, lack big picture /systems level, lack cyber security
knowledge. Trivedi reported to management about this.GE was required to follow 45 CFR §
164.530 (b)(1) (1)Standard: Training and 45 CFR § 164.530 (b)(2) Implementation specific
training.

227. FDA halted sales of OEC in 2007 and GEHC signed a decree ;

(http://www. fdanews.com/articles/89 160-ge-oec-medical-systems-signs-consent-decree-with-

 

fda-to-correct-cgmp-lapses ) The decree "prohibits the manufacturing and distribution of

 

specified GE OEC Medical Systems X-ray surgical imaging systems" at facilities in Salt Lake

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City, Utah, and Lawrence, Mass., “until the devices and facilities have been shown to be in
compliance" with the FDA's current good manufacturing practice (CGMP) requirements as set

forth in the quality system regulation for devices, the agency said.

228. Madhuri was putting quality at first and foremost in her day to day duties
given the history of surgery product with FDA as she was integrating InsiteEXC on OEC
surgery (above Decree related medical device).

229. Internal customers such as General manager Arthur Larson and director
Nick Allen has expressed serious concerns about reliability and quality of GST delivered

products.

230. Under HIPPA requirement which is “it is responsibility of all employees of
organization to report perceived misconduct, including actual or potential violations of laws,
regulations, policies, procedures” and employer not threaten, intimidate, coerce, harass,
discriminate against, or take any other retaliatory action against any individual or other person”

231. 18U.S. Code § 1345. Injunctions against fraud

232. Despite doing such good work; manager Dave Mehring and leads shifted blame
on to Ms.Trivedi( Ms. Trivedi’s inclusiveness ) and retaliated. Leads were not held accountable
for their negligence. Madhuri was subjected to continuing abuse from her co-workers, manager
including verbal abuse, sexual comments, immigration retaliation, withdrawal of H1 B,
vengeance to destroy her stellar career.

233. Madhuri as under HIPPA, HITECH requirement did her job to address,
bring to attention to people in authority and report such perceived misconduct, including

actual or potential violations of laws, regulations, policies, procedures. As a result of that
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she was threatened to be taken off the job, intimidated, harassed, and discriminate against,
retaliatory action to punish her by giving poor performance evaluation (EXHIBIT 10)and

finally discharged.

FIFTH CAUSE OF ACTION
FOR DISPARATE TREATMENT IN VIOLATION OF TITLE VILOF THE CIVIL
RIGHTS ACT INCLUDING RETALIATION

VIOLATIONS OF CIVIL RIGHTS ACT OF 1991 42 U.S.C. § 2000e-3a

234, A Plaintiff Trivedi incorporates by reference paragraphs 1 to 233 above, as

though fully set forth herein, as well as facts currently unknown.

235. 42 USC § 2000e-2(a)(1) to discharge any individual, or otherwise to discriminate
against any individual with respect to his compensation, terms, conditions, or privileges of
employment, because of such individual’s race, color, religion, sex, or national origin; or

236. 42 USC § 2000e-3(a) where I did clearly opposed employment practices by GE

and suffered discrimination.

237. Asa direct, foreseeable, and proximate result of defendants’ discriminatory acts,
Plaintiff has suffered and continues to suffer substantial losses in earnings and job benefits, and
has suffered and continues to suffer humiliation, embarrassment, mental and emotional distress,
and discomfort, all to Plaintiffs damages.

238. Because the acts taken toward Plaintiff were carried out by, condoned by and or
ratified by managerial employees or managing agents acting in a deliberate, cold, callous,

fraudulent, malicious, oppressive, and intentional manner in order to injure and damage Plaintiff,
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while other engineers including Male technical staff Sachin Kendale (Sachin wrote code that it
took 40 minutes to lead 1000 devices on webpage and he and Naresh wrote such badly and
defectively by initializing each device object in memory after they get query result from
database. Database was also not tuned and written badly. They never used Database performance
management tool and David Mehring sucked so much of my blood and I had to convince him a
lot to get $30 Database management tool (EXHIBIT 27 perjury)because GE didn’t have license
and these incompetent engineers never used—despite that Sachin got good performance review--

239. Plaintiff has a copy of Sachin’s performance review and can submit to court),
Naresh, Nate Davis, Greg Stratton and several others wrote bad product, bad buggy, defective
software/code( I have proof of that) despite GE treated them favorably and discriminated
plaintiff as GE can’t tolerate , a female engineer coming out strong and also whistleblowing
these male engineers technical incompetence.

240. Mike harsh , CTO of GEHC sent email in late 2012 (EXHIBIT 18) that managers
and employees should take training on how they perceive communication from female engineers;
SO GE had problem about perceiving and measuring performance, communication of female
engineers

“Men's and women’s behavior is based on two different sets of cultural rules
about what “ right” is. Learning the cultural differences define what is “right” for

men and women-together with a good sense of humor —is the first step leading

 

meaningful inter-gender communication.

 

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Following the workshops, participants will be equipped to return to both their
professional and personal lives seeing the world through the lenses of the other
gender's culture and encouraged to shape their message in new ways. “

241. There was one female project lead Dipti Patel who was responsible for integrating
InsiteEXC on various medical devices and she fraudulent and knowingly PASSED quality tests
and signed them saying product is OKAY while it was defective and whole management was
part of this FRAUD scheme in which one female project lead was there. Dipti Patel terrorized
me but it was that she was getting exposed of fraud.

242. Madhuri is victim being a female engineer from India and working for a large
organization whose managers took advantage of these conditions/systems and systematically
worked on discriminating, retaliating and treating Madhuri badly, giving false negative
evaluation and finally getting rid of her, beating her about soft skills and continuously making
false case, comments , character attacks, using such inappropriate tactics, selectively filtering
most of positive things about her, stopping her from fixing defects, doing proper design for
which Madhuri was hired and paid to do. Madhuri told Dave Mehring in lon! and also to Carl
Conrath and Mike Truman, Ayesh Khanalong with CEO Mike Swinford, CFO, that she is

treated differently and unfavorably.

243. Once Madhuri realized amount of defects and performance/maintenance issues
Insite Exc was having which was violation of FDA rule, quality code, HIPPA and HITECH
violations and risk to public health and safety —patient data; it was a fraud and conspiracy to
continue release/ integrate those Insite Exc agents on products like Surgery OEC for example
(where Madhuri was doing testing). Given it is regulated environment and Madhuri was

concerned to continue work on Insite Exc surgery integration in a reckless way manager/lead

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wanted. Madhuri informed managers Dave Mehring/ Dave Saliis that she would consider

working on another project and this is not proper. This happened in March 2012.

 

244. Despite those similarly situated employees who are not in Ms. Trivedi's protected
group were doing such poor job were treated more favorably or did not receive the same adverse
treatment. (Madhuri needs to work on her relationship despite doing good work for company and
going above and beyond for project success).

245. A plaintiff may state a claim for Title VII employment discrimination using either
the “direct method” or “indirect method.” Cianci v. Pettibone Corp., 152 F.3d 723, 727-728 (7th
Cir. 1998).

246. My email to CTO Tim Kottak. I met Tim in person and went over everything .I

requested Tim to change my reporting manager.

From: Trivedi, Madhuri (GE Healthcare) </o=GEMAIL/ou=First Administrative
Group/en=Recipients/en=2 12070205>

Sent: Wednesday, December 19, 2012 2:03 PM

To: Kottak, Tim (GE Healthcare) <Tim.Kottak@med.ge.com>

Subject: RE: Thanks

 

Respected Tim Kottak,

Carl said he won't make any changes for having a dotted line manager. This is an update.
Happy Molidays!

Thanks and regards,

Madhuri

247. My email to Gregg stratton(who was a lead systems designer )for Insite EXC

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where I reiterated cybersecurity issues, slacker way for quality(EXHIBIT 25), as was being
exposed of technically incompetent and fraud related to InsiteEXC became aggressive, abusive
language, behavior, shifting blame and daily fights via emails phones to other GE managers and
I was sitting next to him..I moved my desk and GE manager david mehring made a big issue of
it..gave me negative rating in performance review regarding my desk move and forced me to
have regular meeting with Greg to improve relationship...

248. Used my divorce as a tool to falsely accuse me on relationship, blackmailing as
GE thought it as my weakness. Pre arbitration brief (exhibit 14), immigration attorney Jeff letter
to GE CEO (exhibit 12 ), Foley and Mansfield letter to GE(exhibit 15), my arbitration agreement
(exhibit 4)has outlined the disparate treatment I received and retaliation. These exhibits are
realleged and incorporated here in as part of this CAUSE of ACTION.

249. I was discriminated , retaliated based on her nationality- as it relates to
immigration status H1B. Because once GE takes adverse, discriminatory action and terminates
me —they can cancel my H1 B-after H1 B cancellation. That’s what GE exactly did. Compared to
others who were not on H1B and not similarly situated ( plus I didn’t keep my mouth shut and
joined GE’s fraud scheme).

250. Title VII also has protection for anti-retaliation -when a person complains about
desperate treatment despite GE retaliated...Plaintiff was concerns about her H1B and hence

trying to be polite and as adjustable to GE as she can as long as her H1 B is not screwed.

SIXTH CAUSE OF ACTION

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10 U.S.C. 2409 “WHISTLEBLOWER PROTECTIONS FOR CONTRACTOR
EMPLOYEES.”, NDDA
251. A Plaintiff Trivedi incorporates by reference paragraphs | to 250 above, as

though fully set forth herein, as well as facts currently unknown.

252. Plaintiff has exhausted administrative remedies for the DODIG complaint, and the
employee may bring an action against the defense contractor GE in the appropriate U.S. District
Court.

253. Iam Alleging reprisal under (10 U.S.C. 2409), and also alleging GE violations
under NDDA criminal fraud investigation.

254. (10 U.S.C. 2409) (a)Prohibition of Reprisals.— (1) An employee of a contractor:

 

subcontractor, grantee, or subgrantee or personal services contractor may not be
discharged, demoted, or otherwise discriminated against as a reprisal for disclosing
to a person or body described in paragraph (2) information that the employee
reasonably believes is evidence of the following:

10 U.S.C. 2409( a) (1) (A) Gross mismanagement of a Department of Defense
contract or grant, a gross waste of Department funds, an abuse of authority relating
to a Department contract or grant, or a violation of law, rule, or regulation related to
a Department contract (including the competition for or negotiation of a_contract) or
grant.

10 U.S.C. 2409( a) (1) (C) A substantial and specific danger to public health or
safety.

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255. Madhuri Trivedi plaintiff alleged that management officials terminated her
employment in reprisal for making protected disclosures; also as per 10 U.S.C. 2409( a) (1) (A)
and 10 U.S.C. 2409( a) (1) (©) A substantial and specific danger to public health or safety.

256. During her employment and thereafter during arbitration on several
occasions , Ms.Trivedi made management know by in person meetings, emails and later legal
documents that she was retaliated for making protected disclosure to management of GE
healthcare ( 10 U.S.C. 2409(a)(2) (G) A management official or other employee of the contractor
or subcontractor who has the responsibility to investigate, discover, or address misconduct. )

257. Madhuri already reported to GE supervisory management as per 10 U.S.C. 2409(
a) (2)(G). And given arbitration substitutes court or grand jury ; I raised these in my arbitration
as well as per 10 U.S.C. 2409( a) (2) (F) A court or grand jury.

258. DOD signed service contract for GE medical devices that used/included “Insite

EXC” medical device/remote service product. /0 USC § 2409(g)(3) The term “contract” means

 

a contract awarded by the head of an agency.

259. GE did violate 10 U.S.C.2409( a) (1) (A) and 10 U.S.C. 2409( a) (I)(C Jas stated
below-
¥ Gross mismanagement of a federal contract or grant, which is “a management action
or inaction which creates a substantial risk of significant adverse impact upon the
agency’s ability to accomplish its mission.” Kavanagh v. Merit
Systems Protection Board, 176 F. App’x 133, 135 (Fed. Cir. April 10, 2006) (citing

White v. Department of the Air Force, 63 M.S.P.R. 90, 95 (1994));

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v An abuse of authority relating to a federal contract or grant, which is “an arbitrary or
capricious exercise of power ... that adversely affects the rights of any person or that
results in personal gain or advantage to ... preferred other persons.” Doyle v. Department
of Veterans Affairs, 273 F. App’x 961, 964 (Fed. Cir. April 11, 2008) (quoting Embree v.
Department of the Treasury, 70 M.S.P.R. 79, 85 (1996)); or

v A “substantial and specific danger to public health or safety” (alleging the nature and
likelihood of the harm, as well as when the harm may occur), or a “violation of law, rule

or regulation” related to a federal contract. See Chambers, 515 F.3d at 1367, 1369.

 

260. GE made no real effort to notify employees including Madhuri Trivedi as per
10 U.S.C. 2409 (d)

261. Plaintiff Trivedi didn’t know of her right under this act (I did know that it is
illegal under DOD contract terms but didn’t know specific laws, statutes and administrative
process with DOD IG)

Means she was not aware of her rights to file administrative complaint until it was little
over/after three years and going to federal court )until after she was terminated (even after she
was terminated, it took her sometime to know this act).

262. But GE knew this act (and GE knowingly let plaintiff suffer damages in violations
of this act) and so did several law firm attorneys Trivedi retained to represent her but as alleged
earlier none of the attorney mentioned to Trivedi about filing DOD IG reprisal complaint. ...So
they schemed that if plaintiff doesn’t know her right. GE thought that they won’t get caught
hence it justified their illegal activities as being BIG corporation with DEEP POCKETS,
connections, lobbying power and huge money for legal defense and dragging the matter so to
exhaust other party who is whistleblowing.

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263. The complainant Trivedi prevails merely by demonstrating that the protected
disclosure was a contributing factor in the personnel action, which can be met by showing
knowledge and temporal proximity.

264. I filed complaint to DOD IG on August 19, 2016 but first DOD investigator said
that a person should be a US citizen. Later when I spoke with Nilgun Tolek —Director of
investigations—she said no need to be US citizen but it was closed as three year statute of
limitation to report to DOD IG ran out as I contacted on August 19,2016 and I was terminated on
May 31, 2016... Though It was just few months more than three years but anyway she didn’t
consider.

265. DOD IG also had whistleblower criminal investigation and it was properly
filed (I also had emails from head of DOD IG handling criminal investigation but I have no
update on that and more than 210 days have passed after filing the complaint....so federal court

has jurisdiction to hear the case under NDDA.

266. Below is Patrick DOD IG email.

1)From: Gookin, Patrick, OIG DoD <Patrick.Gookin@dodig.mil>

Date: Thu, Sep 8, 2016 at 2:12 PM

Subject: RE: [Non-DoD Source] Fwd: Department Of Defense, Office of the Inspector
General - Initial contact

To: Madhuri Trivedi <madhuri.orangehe(@gmail.com>

We will ask the investigator assigned to fraud to contact you. They may want

you to submit it in some other manner.

Patrick W. Gookin

Director, DoD Hotline and Whistleblower Protection Ombuds (703) 602-0036
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2)From: Gookin, Patrick, OIG DoD <Patrick.Gookin@dodig.mil>

Date: Thu, Sep 8, 2016 at 11:51 AM

Subject: RE: [Non-DoD Source] Fwd: Department Of Defense, Office of the Inspector
General Reprisal complaint

To: Madhuri Trivedi , "Tolek, Nilgun, OIG DoD" <nilgun.tolek@dodig.mil>

 

Nilgun Tolek and Ian Odette only spoke to your complaint of reprisal, not

whether the government was defrauded. The fraud matter is overseen by the DoD
Hotline. Please don't assume nothing is being done about your fraud

complaint. We have it for action.

Patrick W. Gookin

Director, DoD Hotline and Whistleblower Protection Ombuds

(703) 602-0036

Office of the Inspector General

U.S. Department of Defense 4800 Mark Center Drive, Suite 14L24 Alexandria, VA
22350-1500

Sate

Date: Tue, Nov 1, 2016 at 9:35 AMSubject: Re: [Non-DoD Source]

He fe He He EC ae ale Hc ok ae oe is of oa AE HE ok Ok
To: Madhuri Trivedi <madhuri.orangehc@gmail.com>, "Stebbins, Steven A., SES, OIG

DoD" <Steven.Stebbins@dodig,mil>

SEVENTH CAUSE OF ACTION

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VIOLATION OF DODD FRANK ACT - SECTION 1057, CONSUMER FINANCIAL

PROTECTION ACT (CFPA), 12 U.S.C, 5567 EMPLOYEE PROTECTION

267. A Plaintiff Trivedi incorporates by reference paragraphs 1 to 266 above, as
though fully set forth herein, as well as facts currently unknown.

268. As stated in GE 10-K filings:-

" Under the Dodd-Frank Wall Street Reform and Consumer Protection Act, we are

subject to prudential oversight hy the Federal Reserve, as a result of GE

Capital's designation as a nonbank systemically important financial institution (naonbank

SIF]), which subjects us to increased and evolving regulatory requirements.

General Electric Capital Corporation (GECC) is a regulated savings and loan holding

company under U.S. law and became subject to Federal Reserve Board (FRB)

supervision on July 21, 2011, the one-year anniversary of the Dodd-Frank Wall Street

Reform and Consumer Protection Act(DFA). In addition, on July 8, 2013, the U.S.

Financial Stability Oversight Council (FSOC) designated GECC as a nonbank

systemically important financial institution (nonbank SIF]) under the DFA."

269. 10-K for GENERAL ELECTRIC CO

Capital

Capital is the financial services division of GE focused on customers and markets aligned with GE's
industrial businesses, whether in developed economies or emerging markets. We provide financial products
and services around the globe, that are geared to utilize GE’s industry specific expertise in aviation, energy,
infrastructure, and healthcare to capitalize on market-specific opportunities. In addition, we continue to
operate our run-off insurance activities as part of our continuing operations.

(a) Revenues of GE businesses include income from sales of goods and services to
customers and other income.

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selling prices.

Products and Services:

« Custom Fair Market Value Leases
® Equipment Loans

® Tax Exempt Revenue Bonds

« Taxable Revenue Bonds

© Technology Management

 

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Markets served:

« Hospitals & Health Systems

* Outpatient Imaging Ceritens

® Outpatient Surpery Centers

+ Physician Practices & Gutpatient Clinies
* Diagnostic Laboratories

® Urgent Care Clinics:

® Skilled Nursing Facilities

® Other Healthcare Providers jf

272. Solutions offered by GE capital-

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(b) Sales from one component to another generally are priced at equivalent commercial

270. GE’s deceptive sales and marketing -would consumers have leased or loaned GE
medical equipment and services at the PRICE and CONDITIONS GE offered; if consumers

would have known defects, non conformances and cyber security vulnerabilities?

271. GE capital —healthcare finance offerings as shown below:

Equipment edinmonly financed:

« Advanced Visualization

. Anesthesia Dellvery a
® Bone Health

* Computed Tomography (C1

® Diagnostic ECG

« Diagnostic Laboratory Equipment

 

® Radiography and Fluoroscopy
© Surpical Imaging & Technology
® Surgical Robots

* Ultrasound

« Ventilators

Madhuri Trivedi

 
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solutions to help customers address their varied needs and goals—solutions that are also tied to clinical and operational roots of

the organization so they are-robust enough for long-term support.

 

Traditional acquisition models
In an era of uncertainty, it can be difficult for organizations to develop financial and operational strategies with the flexibility to adjust to internal

and external market forces. Leasing can deliver that flexibility to manage assets, right-size capacity and drive standardization or utilization 50. :
providers can adapt to changes in reimbursement, industry consolidations, and innovations in technology.

Metric-based

Risk-sharing models offer providers the flexibility to expand and grow while addressing uncertainty regarding demand, relmbursement, and
technology. Usage Based Billing (UBB) is an ideal solution for providers seeking to add new imaging technology yet uncertain that demand will

:support expansion. Reimbursement Based Billing {RBS) can enable increased capacity for procedures that have an uncertain reimbursement rate.

Portfolio optimization and management

When demend and reimbursement are less predictable, it becomes more important for providers to have a strategic assessment of existing
assets. We help organizations create a technology management plan that is aligged with clinical, operational,and financis) goals, With a full
assessment of asset optimlzation and capital planning efficiency, we cu holp healthcare systems reduce operational costs.

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Technology management :

Some customers seek a holistic approach to technology management and financing. As experts In healthcare and finance, we can incorporate
technology service, healthcare expertise, and finance in a way that helps manage technology obsolescence and lock in prediczable cost
structures. We can work closely with customers to understand their clinical, operational, and linantial gdals to help improve clinical eficaty and
drive consistency through standardization and asset optimization.

Common financing products

® Custom Faly Market Value Leases

= Tex Exempt Equipment Loans

® Taxable Revenue Bonds

2 Technology Management Solutions
« Equipment Loans

@ Tax Exempt Revenue Bonds

273. GE Capital’s verticals are aligned with GE’s core industrial businesses — GE

Capital Aviation Services (GECAS), Energy Financial Services (EFS) and GE

 
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Industrial Finance, which include the Healthcare Equipment Finance business, Working Capital
Solutions (WCS), and other financing activities to develop lending and leasing products for the

GE Store.

274. GE Capital's Industrial Finance organization serves customers in Healthcare in
USA and around the world.

275. . See 12 U.S.C. 5567(a) (listing activities protected under CFPA).Claims arising
under section 1057 of the Dodd-Frank Wall Street Reform and Consumer Protection
12 U.S.C. 5567(a) 12 U.S.C. 5567(a)

(a) In general No covered person or service provider shall terminate or in any other way

discriminate against, or cause to be terminated or discriminated against, any covered

employee or any authorized representative of covered emplovees by reason of the fact

that such_ employee or representative, whether at the initiative of the emplovee or in the

ordinary course of the duties of the employee (or any person acting pursuant to a request

of the emplovee), has—

(1) provided, caused to be provided, or is about to provide or cause to be provided,

information to the employer, the Bureau, or any other State, local, or Federal,

 

government authority or law enforcement agency relating to any violation of, or any act

 

or omission that the employee reasonably believes to be a violation of, any provision of

this title [1] or any other provision of law that is subject to the jurisdiction of the Bureau

 

or any rule, order, standard, or prohibition prescribed by the Bureau;
(4) objected to, or refused to participate in, any activity, policy, practice, or assigned

task that the employee (or other such person) reasonably believed to be in violation of
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any law, rule, order, standard, or prohibition, subject to the jurisdiction of, or
enforceable by, the Bureau.

(b) Definition of covered employee -For the purposes of this section, the term “covered

 

employee” means any individual performing tasks related to the offering or provision of

a consumer financial product or service.

276. Asper 12 U.S.C. 5567 (b), which imposes no requirement that information be

conveyed to a government agency, no requirement to report to government agency in order to get

whistleblower protection.

12 U.S. Code § 5536. Prohibited acts (a) In generallt shall be unlawful for—

(1) any covered person or service provider—(A) to offer or provide to a consumer any
financial product or service not in conformity with Federal consumer financial law, or
otherwise commit any act or omission in violation of a Federal consumer financial law,
or(B) to engage in any unfair, deceptive, or abusive act or practice;

(3) any person to knowingly or recklessly provide substantial assistance to a covered
person or service provider in violation of the provisions of section 5531 of this title, or
any rule or order issued thereunder, and notwithstanding any provision of this title,[1]
the provider of such substantial assistance shall be deemed to be in violation of that
section to the same extent as the person to whom such assistance is provided.

277. By deceptive, fraudulent marketing, sales, leasing, lending and financing GE
medical devices through GE capital; GE was violating laws. The Consumer Financial
Protection Bureau oversees GE capital. GE Capital has GE Healthcare Equipment

Finance . Hence by engaging in all the activities Plaintiff Trivedi did to report to GE
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management internally about alleged violations that CFPB oversees.; Trivedi is a
“covered employee” as per /2 U.S.C. 5567(b)

278. Trivedi as per 12 U.S.C. 5567(a)(4) and 12 U.S.C. 5567(a)(1) objected and
refused to participate in GE fraud scheme to release defective, non conforming, Cyber
security vulnerabilities, hackable medical devices and service products, related
activities to 100,000 medical devices in PRODUCTION inside HOSPITALS and
reported her objections and such illegal activities to employer GE as per 12 U.S.C.
5567(a)(1);

279. Trivedi reasonably believed to be in violation of law, rule, order, standard, or

 

prohibition, subject to the jurisdiction of, or enforceable by, the Bureau - 12
U.S. Code § 5536(a)

280. Even when Trivedi was assigned task to integrate InsiteEXC on Surgery platform;
Trivedi’s assigned task that Trivedi reasonably believed to be in violation of law,
rule, order, standard, or prohibition, subject to the jurisdiction of, or enforceable by,

the Bureau. 12 U.S. Code § 5536(a)

 

281. Other finance related rules and regulations, statutes, state laws may apply to GE’s
loan, lease, tax bond and related activity for it’s healthcare equipment finance; the matter should

looked into holistically.

282. Plaintiff did file OSHA complain (EXHIBIT 6 & 7)

EIGHTH CAUSE OF ACTION

8 U.S.C.§1324b(a)(1), 8U.S.C. § 1324b (a)(5)

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PROHIBITION OF INTIMIDATION OR RETALIATION

 

283. A Plaintiff Trivedi incorporates by reference paragraphs | to 282 above, as
though fully set forth herein, as well as facts currently unknown.

284. Above cause of action prohibits employer to retaliate, discrimination based on
nationality, immigration status as person(employee) who objects any unlawful practices, acts
done by employer. Even while mediation, arbitration was pending, GE cancelled her H1 which is
also to prohibit her from pursing her claims under this and also to scare her off in terms of her
immigration.

285. 8 U.S.C.§1324b(a) Prohibition of discrimination based on national origin or
citizenship status (1) General rule It is an unfair immigration-related employment
practice for a person or other entity to discriminate against any individual (other
than an unauthorized alien, as defined in section 1324a(h)(3) of this title) with
respect to the hiring, or recruitment or referral for a fee, of the individual for
employment or the discharging of the individual from employment—

(A) because of such individual’s national origin, or
(B) in the case of a protected individual (as defined in paragraph (3)), because of

such individual's citizenship status.

286. As per 8U.S.C. § 1324b (a)(5)- It is also an unfair immigration-related
employment practice for a person or other entity to intimidate, threaten, coerce, or
retaliate against any individual for the purpose of interfering with any right or

privilege secured under this section or because the individual intends to file or has

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filed a charge or a complaint, testified, assisted, or participated in any manner in an
investigation, proceeding, or hearing under this section.
287. While employed at GE, even as | emailed GE HR and GE immigration

attornev(EXHIBIT 11) that GE is violating immigration laws and atthat time | did

   

INTEND to take action/file complain.

 

288. As alleged earlier —plaintiff has stated claims under this cause of action, As

 

plaintiff was discriminated and further retaliated, discharged in violations of 8

U.S.C.§1324b(a) based on her by her former employer GE

   

¥ nationality -8 U.S.C.81324b(a)(1)(A),

Y immigration, citizenship status (8 U.S.C.§1324b(a)(1)(B)

NINTH CAUSE OF ACTION

BREACH OF CONTRACT

BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

289. A Plaintiff Trivedi incorporates by reference paragraphs 1 to 288 above, as

though fully set forth herein, as well as facts currently unknown.

290. Covenant-of-good-faith that terminations made in bad faith or motivated by
malice are prohibited. That’s what exactly GE did- terminated plaintiff Trivedi in bad faith and
was motivated by malice, conspiracy as she didn’t participate in GE fraud scheme, opposed and
spoke up.

291. Other common-law limitations including actions based on the (1)intentional

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infliction of emotional distress, (2)intentional interference with a contract applies to Plaintiff
Trivedi’s case.
292. GE is required by SEC rule to include code of business conduct and ethics

including in its Annual report form. And comply with it. 17 CFR § 229.406 -Code of ethics.

293. A. Rules enacted by the major stock exchange NYSE
The NYSE requires each publicly traded company to publish a Code of Business Conduct and
Ethics promising not to retaliate against employees.

294. GE isa publicly traded company —on NYSE stock exchange.

295. First, the stock ex-changes, NYSE require their listing issuers to adopt a Code that
applies to all employees. Second, the Code must provide for an enforcement mechanism to
encourage prompt, internal reporting of violations of the Code.( See NYSE LISTING MANUAL
§ 3034.10) .The NYSE listing requirements specifically mandate that the Code include corporate}
assurances that it will not retaliate against an employee for reporting violations of the Code(See
NYSE LISTING MANUAL § 303A.10);NYSE requires that companies protect employees who
make reports in “good faith,”

(See NYSE LISTING MANUAL § 3034.10 )Encouraging the reporting of any illegal

or unethical behavior. The listed company should proactively promote ethical behavior.

The listed company should encourage employees to talk to supervisors, managers on

other appropriate personnel when in doubt about the best course of action in a particular

situation. Additionally, employees should report violations of laws, rules, regulations or
the code of business conduct to appropriate personnel. To encourage employees to report
such violations, the listed company must ensure that employees know that the listed

company will not allow retaliation for reports made in good faith.
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NOTE:General policies about whistleblowing are not enough; these corporate governance
standards require promises not to retaliate (In the context of attempting to provide contractual
protection against sexual orientation discrimination, lan Ayres and Jennifer Gerarda Brown note
the importance of obtaining contractual promises of nondiscrimination rather than merely
unenforceable nondiscrimination policies. ).

296. The NYSE listing rules require GE to promise broad whistleblower
protection; protect employees/plaintiff Trivedi who made whistleblower disclosures
in “good faith,”, fair dealing as well.

297. _B. Plaintiff Trivedi signed as a condition of employment at the time of joining
GE(EXHIBIT 28 & EXHIBIT 29 ) GE policies-The Spirit and the letter

The Spirit and the letter ( letter is also part of SEC filing DEF 14A)( also available on GE
website)— it states that “You do not need to be certain that a violation has occurred. At the
same time, you have an obligation to promptly raise a concern when you see a situation in which
our integrity principles or policies are not being followed. “
“RESPONSIBILITIES OF EMPLOYEES
¥ Know and comply with the laws and regulatory requirements that affect your job
responsibilities.
Y Be the Voice of Integrity and promptly escalate any potential issues that may lead to a
regulatory compliance breach.”
NOTE- GE has itself done so much fraud, scandals, cooked account books and more
that these policies spirit. Policy Letter is merely a letter new employee required to read and sign

and follow but company itself is not following.

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298. Because a corporate Code always applies to the company GE and its employees
(plaintiff Trivedi), enforcing a Code promise often avoids a debate about whether a worker-
plaintiff Trivedi is a “covered employee.” The anti-retaliation promise contained in GE corporate
Code protects employees (plaintiff Trivedi) as a covered employee. GE Corporate Code, on the
other hand, also promised to protect an employee who discloses any illegal or unethical activity
occurring within the corporation; hence such claims to go forward under a breach of contract
theory based on the employer GE ’s anti-retaliation policy as it stated on GE policies-The Spirit
and the letter page 13 “GE absolutely prohibits retaliation”.

299. C. Plaintiff Trivedi fulfilled her “Duty to Report Violations,” which stated in
GE policies: The spirit and the letter(SEC filing DEF 14A):” Penalties for violations
>>Employees and leaders who violate the spirit or letter of GE’s policies are subject to
disciplinary action up to and including termination of employment. Misconduct that may result
in discipline includes: * Violating GE policy, Failure to promptly raise a known or suspected
violation of GE policy , Retaliation against another, employee for reporting an integrity
concern,* Failure to demonstrate leadership and diligence to ensure compliance with GE
policies and law.

300. GE SEC filing DEF 14A-Code of Conduct. All directors, officers and employees

 

of GE must act ethically at all times and in accordance with the policies comprising
GE’s code of conduct set forth in the company’s integrity policy, The Spirit & The
Letter, which is published on GE’s website at

www.ge.com/files/usa/citizenship/pdf/english. pdf.

301. GE’s Anti-retaliation Promise as an Express Contract as well==also answer to

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GE’s defense that it was at-will employment.

 

302. These anti-retaliation protections supersede any private ordering between
parties GE and plaintiff Trivedi, including an at-will arrangement, that would permit an
employer GE to fire or otherwise retaliate against a plaintiff Trivedi for reporting
misconduct.

303. D. Implied contract

304. Plaintiff had an implied contract of employment for so long as Plaintiff performed
Plaintiff's job in a satisfactory manner.

305. Trivedi performed her job in a satisfactory manner. Even in her performance
appraisal(EXHIBIT 10) -GE manager rated her performance as ’meeting expectations” but
made up that it is her communication skills, relationship skills which needs to be improved and
as a result of PRETENSE/made up false/retaliatory.

306. E. GE made Good faith implied job contract that GE will do H1, yearly

extension of H1 and her greencard
As plaintiff was on her sixth year of H1B..After SIXTH year on H1B unless employer timely
files greencard paperwork ,H1 B can’t be extended nor can one work for another
employer/change job..That’s what exactly GE did.

307. Also despite several requests during mediation, a arbitration and a letter to CEO
of GEHC by immigration attorney Jeff Goldman(EXHIBIT 12) —GE didn’t file I 140 which
would have allowed her to extend her H1B and leave GE and work for another employer.

308. We requested at that time that GE keep me on leave without pay and just do

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paperwork. But GE didn’t care. It is also illegal to cancel H1 B while mediation and arbitration is
pending because without H1 B I had no way to be in country legally which was a weakness —GE
and arbitrator used that (H1 B cancellation ) (EXHIBIT 12)as tools.

309. Defendant breached its contract with Plaintiff by: Terminating Plaintiff in breach
of the promises made to Plaintiff; terminating plaintiff in violations of public policy ,state and
federal statutes, regulatory agencies including but not limited to DOD, FDA, SEC, DOL rules
and regulations. Also in violation of all other anti-retaliation, whistleblower protection laws
.Cause of action claim ----- stated here. Terminating Plaintiff without good cause as she did meet
her performance (technical performance as well) (EXHIBIT 10)

310. The company induced Ms. Trivedi; and that GEHC would make good faith efforts
to pursue permanent residency (EXHIBIT 23)for her, only to fall far short on this promise. What
is particularly frustrating is the fact that GEHC did get past the most difficult part of the green
card process—the US Department of Labor did certify a Labor Certification Application for her (
Immigration has approved Ms. Trivedi’s petition as a person with exceptional ability/advanced
degree individual).

“ Federal Court cases have clearly faulted employers for this kind of inducement

and failure to use good faith in following up with this process. (EXHIBIT 23)Also,

the company neglected to file the PERM labor certification on timely manner

(despite Ms. Trivedi requesting) (EXHIBIT 12 ), which has resulted in that she

could not work for other employer(preemptive) in US.

311. Ms. Trivedi had emailed both ;Manager Dave Mehring and lead Nate Davis

mentioning this even before joining GEHC(EXHIBIT 21) .So, they are not letting

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Ms. Trivedi go on with her own life. Knowing these matters from beginning. Also by
cancelling H1 B so I can’t proceed in arbitration or any other court.( preemptive)”

312. Breach of contract

See Leyden v. Am. Accreditation Healthcare Comm’n, 83 F. Supp. 3d 241, 247-

48 (D.D.C. 2015). In Leyden, the trial court held that the plaintiff had a valid claim

based on the employer’s alleged violation of its internal anti-retaliation policy.

In Leyden, The defendant then terminated the plaintiff's employment. The
defendant moved to dismiss the complaint, arguing in relevant part that the anti-
retaliation policy did not create contractual rights. Even if it did, the defendant
contended, it had disclaimed any such rights in its enployee handbook. Court held that
The anti-retaliation policy created an implied contract. Strass v. Kaiser Foundation
Health Plan, a case holding that an employee handbook created an implied contract. Id.
at 247 (citing Strass v. Kaiser Found. Health Plan, 744 A.2d 1000 (D.C. 2000)). The
court discussed how a manual could create rights, and how an employer could effectively
disclaim those rights. The court also rejected the defendant’s argument about the
disclaimer, noting that a disclaimer that was “rationally at odds” with the other

language in the document may not cut off an implied contract.

In finding an implied contract, the court focused on the employer's invitation to
report “Improper Activities” internally and on the language of the anti-retaliation policy.
The court also concluded that the employer’s disclaimer, which was found in a different

document, was rationally at odds with the anti-retaliation policy. .

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313. Implied covenant of good faith and fair dealing to GE and plaintiff's implied

contract.

Rely upon “breach of implied contract” or ‘promissory estoppel” theories to examine
handbook promises to enforce anti-retaliation promises found in GE corporate Codes, utilizing
the “handbook doctrine,” an exception to the at-will rule for employer GE promises in employee
handbooks or manuals. Similarly, under a promissory estoppel theory, specific promises
within a handbook increase the likelihood that a court will find that the employee Trivedi
reasonably relied upon the statement.

314. As stated above;Trivedi and GE created contractual rights, Trivedi relied on anti-
retaliation promise in the GE policies letter (which had GE anti-retaliation policy which
created an implied contract.) she SIGNED as an condition of employment and followed duty
to report violations as expressed in GE policy, federal , state laws and rules, along with other

courses at GE that she was required to take as GE was in regulated environment.

315. Madhuri Trivedi protected under the whistleblower protection policies in

corporate codes of ethics as she was following that.

316. GE violated/breached this code of ethics NYSE requirement by doing what
they did to plaintiff Trivedi.

317. GE’s breach of an anti-retaliation policy in a Code of Ethics give rise to a

 

breach of contract claim. Federal district court held that an employer’s anti-retaliation policy

created ‘legally enforceable rights.

 

! https://www.zuckermanlaw.com/code-of-ethics-whistleblower-protection-lawyer/

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318. As alleged above on several elements; GE breached contract.

 

TENTH CAUSE OF ACTION
31 U.S.C. §3729 et.seq. AND 31 U.S.C. § 3802 AND RELATED WHISTLEBLOWER

REPRISAL

319. Plaintiff Trivedi incorporates by reference paragraphs 1 to 318 above, as though

fully set forth herein, as well as facts currently unknown.

320. Plaintiff knows that plaintiff is required to file a FCA/Quitam lawsuit under
SEAL with an attorney but since all these history, I have not been able to file it under seal; but
am requesting whistleblower protection and reprisal relief under these laws.

321. GE violated FEDERAL FALSE CLAIMS ACT ,31 U.S. Code § 3802 ; False
claims and statements; Liability- to the actions of government contractor by failing to disclose
product defects. General Electric is a government contractor.

322. GE violated Civil False Claims Act (31 U.S.C. §3729 et seq.) by knowingly
presenting false or fraudulent medical device SALES and service contract submitted to
government, conspired to defraud the government. GE conspired and “knowingly” defrauded
government because GE had actual knowledge of the information about InsiteEXC defects,
design non conformances, performance issues, cyber security vulnerabilities and potential risks
these vulnerabilities posed to insider attacks as well as attacks from outside network that could
affect/affect patients possible diagnosis of Imaging scan, and much more unspecified attack
vector, acted in deliberate ignorance of the truth, falsified of the InsiteEXC information ;

continuously selling and integrating InsiteEXC of all kinds of GE medical devices for years to

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generate revenue and earn millions worth of medical device purchases and service contracts by
government. As per 31 U.S.C. §3729 et seq. Plaintiff Trivedi claims here in -Not proof of

specific intent of GE to defraud is required .

323. Plaintiff Trivedi engaged in protected activity; GE had knowledge that Plaintiff
Trivedi was engaged in protected activity; GE took an action that had a negative effect on the
terms, conditions, or privileges of employment, such as termination, harassment and any other
act that would dissuade a reasonable person from reporting violations of the False Claims Act;

and GE retaliated against Plaintiff Trivedi because of this conduct.

324. Plaintiff has alleged properly all the elements as stated above in this
complaint.
325. Further stopping me from pursing Quitam and/or any other claims by cancelling
my immigration H1B. Because quitam attorneys said that given Trivedi’s immigration situation

they were hesitant to invest million in the quitam lawsuit if they take on contingency basis.

ELEVENTH CAUSE OF ACTION

WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
326. Plaintiff Trivedi incorporates by reference paragraphs 1 to 325 above, as though
fully set forth herein, as well as facts currently unknown.
327. Plaintiff alleges that Plaintiff's termination was wrongful because it was in
Violations of the public policy of the United States in that Plaintiff's termination was in

retaliation for Plaintiffs opposing and reporting illegal activity, as described in preceding

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allegations for ----- Under the public-policy an employee is wrongfully discharged when the
termination is against an explicit, well-established public policy.

328. A substantial motivating reason for Trivedi’s termination was her reporting to
GE’s management, managers, seniors, its General manager Dave Elario(who threatened to take
Trivedi off job and already did later) its CTO, its CEO, its CFO

329. Trivedi refused to participate in GE’s attempts to turn a blind eye to, and indeed
affirmatively and knowingly cover up , CFPA-consumer finance protection act, HIPPA,
HITECH, Sarbanes-Oxley, and other violations of federal securities laws, False claims act, and
Trivedi took a position adverse to GE regarding such illegal activity.

330. Wrongful discharge tort also protects employees who disclose a violation of

“public policy”

TWELFTH CAUSE OF ACTION
18 U.S.C § 1512 et. Seq. - TAMPERING WITH A WITNESS, VICTIM, OR AN
INFORMANT, 18 U.S.C § 1513 et.seq. - RETALIATING AGAINST A WITNESS,

VICTIM, OR AN INFORMANT (FE)

331. Plaintiff Trivedi incorporates by reference paragraphs | to 330 above, as though

fully set forth herein, as well as facts currently unknown.

332. GE knew that FBI said that GE matter was quitam matter, and that FDA gave a
letter in Feb 2014, another FDA letter from Director of radiological devices; Mary Patel
(EXHIBIT 19),OSHA but despite continue jeopardize my livelihood by jeopardizing my
immigration and further stopping me from pursing claims, work with /go to government

agencies, work on government investigations.
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RELIEF

333. I pray to court and Judge to take this complaint’s allegations as a whole, Look at
all these matter and allegations holistically, humanly and give JUSTICE- and give all the relief,
to make me whole.

334. WHEREFORE, Plaintiff prays for judgment against Defendants, and each of

them, as follows:

335. For monetary damages against Defendants, and each of them, in an amount
sufficient to compensate Plaintiff for loss of income, loss of benefits, loss of use, for emotional
distress, and for the injury and damage that Defendants have caused to Plaintiff's name and
reputation;

336. Front pay-all the salary she lost since she was illegally terminated.

337. double back pay damages for all violations;

338. Restore and Resolve immigration petition, benefits and her prior employment

based visa that she lost and do that backdated to day she was terminated.

339. For punitive damages against Defendants in an amount sufficient to deter them
from engaging in similar misconduct toward other employees, and to make an example of them
to others who may otherwise be inclined to engage in such wrongful conduct;

340. Monetary damages as per Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]

and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5]

341. Monetary damages as per SOX, and other cause of actions mentioned above.

342. Plaintiff's reasonable legal cost and fees,

343. For injunctive relief, as the Court may deem proper.

344. For such other, further relief, as the Court may deem proper.
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Dated: May 20 , 2019

mg

 

 

 

Madhuri Trivedi

Founder, CEO,CTO of Startup -Orange ,

ATTN: Women Who Code

44 Tehama St, 5th Floor, San Francisco, CA 94105
Fax: 708-778-4859 Phone: (650) 242-5135

Email: entreprenuerm@protonmail.com

 

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Linkedin:- linkedin.com/in/trivedim

EXHIBITS

. A. GE Medical Devices Vulnerability The Department of Homeland Security

(DHS)_ICS-CERT ALERT DATED March 2018.

. B. Detail of alert with INSITE EXC (one of many alert)

GE Medical Devices Vulnerability _The Department of Homeland Security (DHS)_ICS-
CERT ALERT —

My email to GE CEO, GE board of directors and others.

GE board of director inquiry

Arbitration complaint against GE

. Letter from FDA,

OSHA complaint ( included Exhibit 3- Arbitration complaint against GE , Exhibit Sa-
FDA letter, Exhibit 7 below; and other documents along with phone chat, emails.
OSHA complaint attachment 1 summary ,OSHA complaint attachment 2 InsiteEXC
defects and other violations)

OSHA Response

 
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Insite Production issue and Insite 400 critical defects powerpoint

Madhuri Trivedi Performance appraisal

GE immigration attorney and HR email that GE canceled my H1 B visa while mediation
and arbitration is PENDING. And won’t pursue any immigration I 140 paperwork.
Immigration attorney Jeff letter to GE healthcare global service CEO

Mediation statement by CROSS law firm

Despres, Schwartz and Geoghegan, Ltd. Attorney Mike Persson pre arbitration brief
Foley and Mansfield national law firm letter to GE

Bill Barbiux deposition highlights

Deceptive, with omission, concealing defects;

“TnsiteEXC “product manual, sales and marketing brochures for all kinds of devices
ultrasound, surgery, Lunar and more;

press releases, news coverage

GEHC CTO Mike Harsh email to all employees about GENDER speak in technology.
FDA director Pastel Marry letter-FCA

Approved LCA from DOL for GE/GE transportation H1B related

Trivedi’s email communication with manager Dave and Nate before joining GEHC
about filing PERM 365 before H1 B expires

GE manager Dave Sallis in my performance review writing that it is GE’s problem
Permanent residency introduction letter —immigration attorney

Arbitration subpoena to GEHC CEO, CTO, general manager, architect, manager,

engineer and other

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Email to lead designer at GE Gregg Stratton about being retaliated for cybersecurity,
quality issues

1000 page test document

David —GE manager perjury , engineers never used database performance tuning tool of
$30 and Trivedi had to fight to get it.

GE job offer to Trivedi-conditioned to signing and following GE policies-“The Spirit and
the Letter”

SIGNED GE job offer —acknowledgement-conditions of employment - GE policies-“The
Spirit and the Letter”,

InsiteEXC security- “Enable memory protection to help mitigate online attacks"
which was required to be unchecked in settings in order to establish/install remote

connectivity.

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